Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 1 of 65
    


                                          
                                          
                                          
                                          
                                          
                                          
                                          
                                          

                        Woodbridge Entities 
                                          
                                          
               Declaration of Soneet R. Kapila 
                                          
    
                            December 18, 2017 
                                          
                                          
                                          

                                          

                                          

                                          

                                          

    

                                          



                                                                                
                                         1
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 2 of 65
    


                                     Table of Contents 


   Declaration of Soneet R. Kapila

   Exhibits

         Resume of Soneet Kapila                                A
         Resume of Melissa Davis                                B
         Ponzi Fraud Cases                                      C
         Bank Record Inventory                                  D
         Credit Card Statement Record Inventory                 D.1
         QuickBooks Files Provided                              E
         Consolidated Bank Reconstruction                       F
         Summary of Bank Reconstructions                        F.1
         Bank Reconstruction Categories                         F.2
         Summary of Credit Card Activity                        G
         Credit Card Account Reconstruction Categories          G.1
         Summary of Net Payments to Insiders                    H




                                              



                                                                                
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 3 of 65
    


                              Declaration of Soneet R. Kapila

   Pursuant to 28 U.S.C § 1746, the undersigned states as follows:

   I, Soneet R. Kapila, declare and state that the following facts are known to me personally

   and that I am competent to testify about them.

   I.     RETENTION

   1.     I am over eighteen years of age and have personal knowledge of the matters set

         forth herein.

   2.     I am the founding partner of KapilaMukamal, LLP (“KM”), a forensic consulting

         and insolvency advisory firm that was retained by the United States Securities and

         Exchange Commission (“SEC”) to conduct a forensic accounting investigation in

         this matter.

   3.     In conducting my investigation and analysis, I was assisted by other KM

         professionals with extensive experience in insolvency and forensic investigations

         working under my direct supervision. Any references to “I”, “my”, “KM” or “Kapila”

         within the Declaration would incorporate my efforts with the assistance of my co-

         professionals working under my direct supervision.

   II.   QUALIFICATIONS

   4.     I am a Certified Public Accountant (CPA), a Certified Fraud Examiner (CFE),

         Certified in Financial Forensics (CFF) conferred by the AICPA, and a Certified

         Insolvency and Restructuring Advisor (CIRA). The CIRA designation is conferred

         by the Association of Insolvency and Restructuring Advisors (AIRA), after a three-



                                               1 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 4 of 65
    


         part examination and a required 4,000 hours of prior qualified insolvency

         experience.

   5.    I am a Fellow of the American College of Bankruptcy. This recognition is based on

         recommendations by peers in the insolvency industry at a national level, invitation

         by the American College of Bankruptcy and induction into this College.

   6.    KM is a niche practice focusing on forensic investigative work, creditors’ rights,

         bankruptcy, insolvency and fiduciary services. Several of the core professionals

         of KM have similar certifications as identified in ¶4 above.

   7.    I have served as a Federal Bankruptcy Trustee, Bankruptcy Examiner, Chief

         Restructuring Officer, SEC Corporate Monitor and Federal and State Court

         Receiver in numerous matters in the Southern and Middle Districts of Florida and

         the District of New Jersey.

   8.    I have served as a Federal Bankruptcy Trustee on the panel of U.S. Bankruptcy

         Trustees in the Southern District of Florida from approximately 1992 to present. I

         have been appointed as a Chapter 11 Trustee, Chapter 7 Trustee, post

         confirmation Liquidating Trustee or other post confirmation fiduciary roles. In these

         roles I have investigated frauds, Ponzi schemes, distressed businesses and their

         failures, financial affairs of bankruptcy debtors, evaluated asset recoveries and

         claims against third parties. These roles routinely include tracing assets, assessing

         for possible fraud and successor businesses. I have also investigated causes of

         action against management, professionals and under Chapter 5 of the Bankruptcy

         Code. My duties have extended to evaluating, bringing and overseeing litigation


                                               2 



                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 5 of 65
    


          claims.    Such claims have included tort litigation against professionals and

          directors and officers.

   9.     As a court appointed Examiner, I have reported to the Bankruptcy Courts on

          issues whose defined scope of the duties is in the Bankruptcy Court’s mandate,

          investigating the conduct of businesses and management and making

          recommendations to the Bankruptcy Court.

   10.    As a Federal Court approved Corporate Monitor appointed by the SEC, I have

          operated a public company international business and negotiated its sale to a

          foreign company, and I am overseeing the restructuring of a healthcare business

          of multiple entities in the senior living facilities industry.

   11.    I have been qualified as an expert dozens of times in federal and state courts

          regarding Ponzi schemes, insolvency, fraudulent transfers, funds and asset

          tracing, lost profits, damages and other subject matters as well as a non-testifying

          expert in many other cases. A true and correct copy of my Resume and Case

          Experience is attached hereto as Exhibit A. Also attached as Exhibit B is the

          Resume of Melissa Davis, a partner in KM with a similar concentration, who

          functioned as the lead partner assisting me with this investigation and analysis.

          Exhibit C is a selective summary of the credentials of KM relating to fraud

          investigation experience, including Ponzi schemes.

   III.   RELEVANT ENTITIES

   12.    This Declaration is based upon my review, investigation and analysis of the

          available accounting and bank records for the period from July 11, 2012 to


                                                   3 



                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 6 of 65
    


                 September 30, 2017 (“Relevant Time Period”) of the following entities (collectively

                 the “Woodbridge Entities”): 

                 Table 1 – List of Relevant Entities
                                Source: Bank Reconstruction and QuickBooks Files
                           Entity Name                                                  Defined As
                           Woodbridge Group of Companies, LLC                            “Group”
                           Woodbridge Structured Funding, LLC                            “Structured”
                           Woodbridge Mortgage Investment Fund 1, LLC                    “WMIF 1”
                           Woodbridge Mortgage Investment Fund 2, LLC                    “WMIF 2”
                           Woodbridge Mortgage Investment Fund 3, LLC                    “WMIF 3”
                           Woodbridge Commercial Bridge Loan Fund 1, LLC                 “Bridge 1”
                           Woodbridge Commercial Bridge Loan Fund 2, LLC                 “Bridge 2”
                           Woodbridge Mortgage Investment Fund 3a, LLC                   “WMIF 3a”
                           Woodbridge Mortgage Investment Fund 4, LLC                    “WMIF 4”
   13.           Collectively, Group and Structured are referred to herein as the “Woodbridge

                 Operating Entities”.

   14.           WMIF 1, WMIF 2, WMIF 3, WMIF 3a and WMIF 4 (collectively, the “Woodbridge

                 Fund Entities”) were formed and managed by Robert Shapiro (“Shapiro”)

                 purportedly for purposes of investing in first mortgages, mezzanine loans and other

                 real estate acquisitions using funds raised from investors located throughout the

                 country (“WMIF Investors”).1 The WMIF Investors included two types:

                 a.             Purportedly accredited investors that invested pursuant to the Confidential

                                Offering Memorandums described below (“Fund Investors”). The terms of

                                these loans were five years; and




                                                               
   1
       Offering Memorandums
                                                                  4 



                                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 7 of 65
    


                 b.             Short-term investors that loaned money on a short term basis, primarily

                                one year, (“FPCM Investors”) and in turn allegedly received a first position

                                commercial mortgage as security for their investment.

   15.           Structured is a Delaware limited liability company formed in July 2009 by Shapiro.

                 In March 2013, Structured submitted an application to transact business in Florida.

                 Structured has offices in Florida and California that purportedly specialize in

                 purchasing structured settlements, annuity and lottery payments.2               Structured

                 raises money from investors and uses the funds to buy the annuity payment stream

                 at a discount. The investor would then receive the future payment stream.

   16.           Group is a Delaware Corporation formed in December 2014. It has several

                 divisions that purportedly specialize in real estate, buying/selling notes, hard

                 money lending and alternate financial space. Its divisions include3:

                 a.             Woodbridge Realty Unlimited – a Colorado limited liability company formed

                                in August 20144 as a boutique full service Colorado real estate firm.5

                 b.             Woodbridge Wealth – an entity located in California that offers investors a

                                variety of investment options including: 6

                                i.     First Position Commercial Mortgages (“FPCM”) – investors are private

                                       lenders that give short term loans, primarily on a one-year basis, to

                                       Woodbridge Fund Entities in return for 5% annual interest payable



                                                               
   2
     https://www.woodbridgeinvestments.com/about-woodbridge/ 
   3
     www.woodbridgecompanies.com
   4
     Colorado Secretary of State
   5
     https://www.woodbridgerealtyco.com/about
   6
     https://www.woodbridgewealth.com/financial-products/
                                                                  5 



                                                                                                                
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 8 of 65
    


                                       monthly.7 The loans are purportedly “backed” by a dedicated

                                       commercial real estate property. FPCM purportedly works as follows:8

                                         1.       The investor lends money to the Woodbridge Fund Entities

                                                  primarily for a one year period and will receive an annual 5%

                                                  interest, payable monthly;

                                         2.       The Woodbridge Fund Entities pool money received from the short-

                                                  term investors to make loans to commercial borrowers for a

                                                  maximum of two years and up to only 70% of the value of the real

                                                  estate. The Woodbridge Fund Entities conduct all due diligence

                                                  including title search and appraisal on the commercial properties

                                                  and borrowers. When the Woodbridge Fund Entities make the loan,

                                                  the short-term lenders receive a first lien position on the property

                                                  and the Woodbridge Fund Entities receive a subordinated position

                                                  to the short-term investors.

                                         3.       The Woodbridge Fund Entities fund the real estate property loan

                                                  and receive payments from the real estate owner.

                                         4.       The property owner makes payments to the Woodbridge Fund

                                                  Entities and the investor receives monthly interest payments based

                                                  on a 5% annual interest rate and a first lien position as security.




                                                               
   7
     I noted that in certain instances the interest rate exceeded 5% and the loan terms was in excess of 12
   months.
   8
     https://www.woodbridgewealth.com/financial-products/first-position-commercial-mortgages/ 
                                                                        6 



                                                                                                                          
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 9 of 65
    


               ii. Commercial Bridge Loan Fund – offers investment in a security with a

                  6% annual preferred return payable monthly for one year. If the investor

                  holds the investment for a period greater than one year and up to five

                  years, it offers an additional 1% accrued incentive return if the

                  investment is held for five years.

               iii. Second Market Annuities – offers investment in a fixed annuity payment

                  stream with a 5% annual return. The investment funds a variety of

                  obligations at a discount, including lottery winnings, personal injury

                  settlements and investments.

         c.    Riverdale Funding, LLC – a hard money lender that specializes in providing

               asset-based one to three-year interest only commercial loans to borrowers.

               Loans range from $250,000 to $5 million.

   IV.   SCOPE

   17.   The SEC requested that I determine the following for the Relevant Time Period:

         a.    The amount of funds the Woodbridge Entities raised from WMIF Investors

               and the number of WMIF Investors;

         b.    The amount of funds the Woodbridge Entities paid to WMIF Investors for

               principal and interest payments to FPCM Investors and dividend payment

               to Fund Investors (the interest and dividends collectively “Returns”);

         c.    The amount of funds remaining due to WMIF Investors;

         d.    The total amount of WMIF Investor funds that were derived from an IRA

               custodian and the number of such WMIF Investors;


                                              7 



                                                                                              
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 10 of 65
     


          e.   The amount of WMIF Investor funds derived from investors located in the

               Southern District of Florida and the number of such WMIF Investors;

          f.   The amount of funds received from WMIF Investors residing in states where

               state governments issued orders precluding the sale of the Woodbridge

               Entities’ FPCM investment vehicles and the number of such WMIF

               Investors;

          g.   Whether or not WMIF Investors’ funds were commingled;

          h.   Whether or not the Woodbridge Entities’ business activities were:

               i.   Dependent on continued infusion of outside investor money;

               ii. The investor money was used for the stated purpose;

               iii. The investor money was used to pay the returns promised to earlier

                    investors;

               iv. If the business enterprise generated sufficient profits to pay the

                    promised returns to investors; and

               v. If the business activities were consistent with the model promoted.

          i.   Whether or not the Woodbridge Entities’ accounting records reflect the

               correct amount of the income generated and assets as compared with the

               actual cash flow in the Woodbridge Entities’ bank records;

          j.   The amount of funds paid by the Woodbridge Entities to or for the benefit of

               Shapiro, his relatives or related entities; and

          k.   The amount of funds paid by the Woodbridge Entities for commission

               payments, including the amount of commissions paid to sales agents

               located in the Southern District of Florida.
                                               8 



                                                                                            
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 11 of 65
     


    V.    SUMMARY OF FINDINGS

    18.   Kapila’s findings are as follows:

          a.     During the Relevant Time Period, the Woodbridge Entities raised

                 approximately $1.2 billion from over 8,400 WMIF Investors nationwide.

                 [¶85]

          b.     During the Relevant Time Period, the Woodbridge Entities paid

                 approximately $265 million of principal to WMIF Investors and $103 million

                 in Returns to WMIF Investors. [¶85]

          c.    As of September 30, 2017, the amount remaining due to WMIF Investors is

                 approximately $961 million. [¶85]

          d.     As of September 30, 2017, there were at least 2,600 WMIF Investors that

                 invested approximately $394 million through IRA custodians. [¶102]

          e.     As of September 30, 2017, there were approximately 700 WMIF Investors

                 from the Southern District of Florida who invested approximately $114

                 million. [¶85]

          f.     The Woodbridge Entities derived funds from FPCM Investors in states after

                 government authorities for such states had issued cease and desist orders

                 precluding the sale of the Woodbridge Entities’ FPCM investment vehicles

                 as follows [¶103]:

                 i.   $3.2 million from 11 WMIF Investors in Massachusetts.

                 ii. $2.3 million from 25 WMIF Investors in Texas.

                 iii. $900,000 from 13 WMIF Investors in Arizona.

                 iv. $2.6 million from 31 WMIF Investors in Pennsylvania.
                                               9 



                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 12 of 65
     


          g.   WMIF Investor funds were commingled within the Woodbridge Operating

               Entities’ bank accounts. [¶89]

          h.   The Woodbridge Entities’ business activities were [¶80]:

               i.   Dependent on continued infusion of outside investor money;

               ii. The investor money was not used for the stated purpose;

               iii. The investor money was used to pay the returns promised to earlier

                    investors;

               iv. The business enterprise did not generate sufficient profits to pay the

                    promised returns to investors; and

               v. The business activities were not consistent with the model that was

                    promoted.

          i.   The Woodbridge Entities’ accounting records do not reflect the correct

               amount of income and assets that is consistent with the cash flow activity

               reflected in Woodbridge Entities’ bank records, resulting in artificial

               representation of the income generated and assets available. [¶78]

          j.   The Woodbridge Entities made net payments of $21.2 million to or for the

               benefit of Shapiro, his relatives or related entities. [¶104]

          k.   The Woodbridge Entities paid $64.5 million in commission payments, of

               which over $12 million was paid to 20 sales agents located in the Southern

               District of Florida. [¶107]




                                                10 



                                                                                             
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 13 of 65
     


    VI.   BACKGROUND

          Woodbridge Entities – Business Model

    19.   The Woodbridge Entities’ business model as represented by Shapiro was to

          borrow money from investors and to use that money to make real estate related

          loans to borrowers. The difference between the monthly interest rate charged to

          the borrowers and the monthly rate paid to the investors would serve as an income

          source to the Woodbridge Fund Entities. For example, if the Woodbridge Fund

          Entities borrowed funds from an investor at a rate of 5% but charged its borrowers

          11%, the difference in the rate of 6% would be income available to the Woodbridge

          Fund Entities that could be used to pay expenses, including the operating

          expenses and sales agent commissions.

    20.   Importantly, the monthly interest payments the Woodbridge Fund Entities received

          from the borrowers would be the source of funds to make the monthly Returns to

          the WMIF Investors.

          Woodbridge Entities – Financial Products

    21.   WMIF Investor funds were deposited into each of the Woodbridge Fund Entities’

          bank accounts for the intended use in investing in first mortgages, mezzanine

          loans and real estate acquisitions and investments. The WMIF Investors included

          Fund Investors and FPCM Investors.




                                              11 



                                                                                                
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 14 of 65
     


                  WMIF 19

    22.           WMIF 1 is a Delaware limited liability company formed in June 2012 to invest in

                  mortgages and other real estate ventures. WMIF 1’s president and chief executive

                  officer is Shapiro and its managing member is WMF Management, LLC (“WMF”).

                  Shapiro is the managing member of WMF.

    23.           In July 2012, WMIF 1 issued a Confidential Offering Memorandum to raise money

                  from investors. WMIF 1’s stated purpose was to offer accredited investors up to

                  $10 million for 100 units of WMIF 1 for $100,000 each.

    24.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of WMIF 1.

    25.           WMIF 1 was to use the proceeds of the offering to invest in first mortgages,

                  mezzanine loans and other real estate acquisitions and investments that were to

                  be “secured” and titled in the name of WMIF 1.

    26.           The investors, referred to as “unit holders”, were to be repaid as follows:

                  a.             8% per annum based on capital contribution;

                  b.             After five years, repayment of initial investment; and

                  c.             After five years, 50% of the cumulative profits of the company earmarked

                                 for all unit holders.




                                                                
    9
        Woodbridge Mortgage Investment Fund 1, LLC Confidential Offering Memorandum.
                                                                   12 



                                                                                                             
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 15 of 65
     


    27.             The July 2012 Offering Memorandum was amended in September 2012

                  increasing the 8% preferred dividend to a 10% preferred dividend and 2%

                  additional accrued preferential dividend after 5 years10.

                  WMIF 2 11

    28.           WMIF 2 is a Delaware limited liability company formed in December 2013 to invest

                  in domestic and foreign first mortgages and other real estate ventures. WMIF 2’s

                  president and chief executive officer is Shapiro and its managing member is WMF.

    29.           In January 2014, WMIF 2 issued a Confidential Offering Memorandum to raise

                  money from investors. WMIF 2’s stated purpose was to offer accredited investors

                  up to $25 million for 250 units for $100,000 each.

    30.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of WMIF 2.

    31.           WMIF 2 was to use the proceeds of the offering to invest in both domestic and

                  foreign first mortgages, mezzanine loans and other real estate acquisitions and

                  investments that were to be “secured” and titled in the name of WMIF 2.

    32.           The investors, referred to as “unit holders” were to be repaid as follows:

                  a.             10% annual preferred dividend and 2% additional accrued preferential

                                 dividend after five years from the date of purchase of each corresponding

                                 unit;



                                                                
    10
         Amended Woodbridge Mortgage Investment Fund 1, LLC Confidential Offering Memorandum.
    11
         Woodbridge Mortgage Investment Fund 2, LLC Confidential Offering Memorandum. 
                                                                   13 



                                                                                                          
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 16 of 65
     


                  b.             After five years, repayment of initial investment; and

                  c.             After five years, investors share in 50% of the cumulative profits of the

                                 company earmarked for all unit holders.

                  WMIF 3 12

    33.           WMIF 3 is a Delaware limited liability company formed in September 2014 to invest

                  in domestic and foreign first mortgages and other real estate ventures. WMIF 3’s

                  president and chief executive officer is Shapiro and its managing member is WMF.

    34.           In October 2014, WMIF 3 issued a Confidential Offering Memorandum to raise

                  money from investors. WMIF 3’s stated purpose was to offer accredited investors

                  up to $50 million for 500 units for $100,000 each.

    35.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of WMIF 3.

    36.           WMIF 3 was to use the proceeds of the offering to invest in both domestic and

                  foreign first mortgages, mezzanine loans and other real estate acquisitions and

                  investments that were to be “secured” and titled in the name of WMIF 3.

    37.           The investors, referred to as “unit holders” were to be repaid as follows:

                  a.             10% annual preferred dividend and 2% additional accrued preferential

                                 dividend after five years from the date of purchase of each corresponding

                                 unit;

                  b.             After five years, repayment of initial investment; and

                                                                
    12
         Woodbridge Mortgage Investment Fund 3, LLC Confidential Offering Memorandum.
                                                                   14 



                                                                                                              
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 17 of 65
     


                  c.             After five years, investors share in 50% of the cumulative profits of the

                                 company earmarked for all unit holders.

                  Bridge 1 13

    38.           Bridge 1 is a Delaware limited liability company formed in May 2015 to provide

                  senior position loans to various Woodbridge Fund Entities affiliates.

    39.           Bridge 1’s president and chief executive officer is Shapiro and its managing

                  member is WMF.

    40.           In June 2015, Bridge 1 issued a Confidential Offering Memorandum to raise money

                  from investors. Bridge 1’s stated purpose was to offer accredited investors up to

                  $50 million for 500 preferred incentive units for $100,000 each.

    41.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of Bridge 1.

    42.           Bridge 1 was to use the proceeds of the offering to originate and finance short-

                  term commercial loans to WMIF Entities on a secured basis to facilitate WMIF’s

                  financing of separate third party commercial lending transactions that WMIF has

                  consummated or intends to consummate.

    43.           The investors, referred to as “unit holders”, were to be repaid as follows:

                  a.             6% dividend per annum and 1% accrued incentive after five years; and

                  b.             After five years, repayment of initial investment.




                                                                
    13
         Woodbridge Commercial Bridge Loan Fund 1, LLC Confidential Offering Memorandum.
                                                                   15 



                                                                                                              
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 18 of 65
     


                  WMIF 3a 14

    44.           WMIF 3a is a Delaware limited liability company formed in July 2015 to invest in

                  domestic and foreign first mortgages and other real estate ventures. WMIF 3a’s

                  president and chief executive officer is Shapiro and its managing member is WMF.

    45.           In October 2015, WMIF 3a issued a Confidential Offering Memorandum to raise

                  money from investors. WMIF 3a’s stated purpose was to offer accredited investors

                  up to $100 million for 1,000 units for $100,000 each.

    46.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of WMIF 3a.

    47.           WMIF 3a was to use the proceeds of the offering to invest in domestic first

                  mortgages, construction loans, and other real estate acquisitions investments that

                  were to be “secured” and titled in the name of WMIF 3a.

    48.           The investors, referred to as “unit holders”, were to be repaid as follows:

                  a.             10% annual preferred dividend and 2% additional accrued preferential

                                 dividend after five years from the date of purchase of each corresponding

                                 unit;

                  b.             After five years, repayment of initial investment; and

                  c.             After five years, investors share in 50% of the cumulative profits of the

                                 company earmarked for all unit holders.




                                                                
    14
         Woodbridge Mortgage Investment Fund 3a, LLC Confidential Offering Memorandum.
                                                                   16 



                                                                                                              
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 19 of 65
     


                  WMIF 4 15

    49.           WMIF 4 is a Delaware limited liability company formed in June 2015 to invest in

                  domestic and foreign first mortgages and other real estate ventures. WMIF 4’s

                  president and chief executive officer is Shapiro and its managing member is WMF.

    50.           In November 2016, WMIF 4 issued a Confidential Offering Memorandum to raise

                  money from investors. WMIF 4’s stated purpose was to offer accredited investors

                  up to $100 million for 1,000 units for $100,000 each.

    51.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of WMIF 4.

    52.           WMIF 4 was to use the proceeds of the offering to invest in domestic first

                  mortgages, construction loans, and other real estate investments that were to be

                  “secured” and titled in the name of WMIF 4.

    53.           The investors, referred to as “unit holders” were to be repaid as follows:

                  a.             10% annual preferred dividend and 2% additional accrued preferential

                                 dividend after five years from the date of purchase of each corresponding

                                 unit; and

                  b.             After five years, repayment of initial investment.




                                                                
    15
         Woodbridge Mortgage Investment Fund 4, LLC Confidential Offering Memorandum.
                                                                   17 



                                                                                                          
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 20 of 65
     


                  Bridge 2 16

    54.           Bridge 2 is a Delaware limited liability company formed in July 2015 to provide

                  senior position loans to WMIF Entities.

    55.           Bridge 2’s president and chief executive officer is Shapiro and its managing

                  member is WMF.

    56.           In February 2016, Bridge 2 issued a Confidential Offering Memorandum to raise

                  money from investors. Bridge 2’s stated purpose was to offer accredited investors

                  up to $100 million for 1,000 preferred incentive units for $100,000 each.

    57.           Each investor was required to complete a “subscription agreement” among other

                  documents at the time of the investment after which the investor became a “unit

                  holder” of Bridge 2.

    58.           Bridge 2 was to use the proceeds of the offering to originate and finance short-

                  term commercial loans to WMIF Entities on a secured basis to facilitate WMIF’s

                  financing of separate third party commercial lending transactions that WMIF had

                  consummated or intended to consummate.

    59.           The investors, referred to as “unit holders”, were to be repaid as follows:

                  a.             6% dividend per annum and 1% accrued incentive after five years;

                  b.             After five years, repayment of initial investment; and

                  c.             After five years, investors share in the cumulative profits of the company

                                 earmarked for all unit holders equal to their respective pro rata share.




                                                                
    16
         Woodbridge Commercial Bridge Loan Fund 2, LLC Confidential Offering Memorandum.
                                                                   18 



                                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 21 of 65
     


    VII.   METHODOLOGY

           Bank Reconstructions

    60.    The Woodbridge Entities maintained their bank accounts with Comerica Bank. A

           complete list of the accounts is at Exhibit D. As of September 30, 2017 the

           combined cash balance in the bank accounts was $9.5 million. The SEC provided

           me with the bank account record productions it received from Comerica Bank. In

           my role as forensic accountant to the SEC in this matter, I reviewed, analyzed and

           reconstructed the entire activity in the bank accounts of the Woodbridge Entities

           (“Bank Reconstruction”). The Comerica Bank records are the source documents

           for the Bank Reconstruction.

    61.    Shapiro was the authorized signor on each of the Comerica bank accounts and

           signed the thousands of checks that were issued from the bank accounts during

           the Relevant Time Period.

    62.    The Bank Reconstruction is a database of the details of each transaction (receipts

           and disbursements) that occurred in the Woodbridge Entities bank accounts. I

           prepared a separate Bank Reconstruction for each of the Woodbridge Entities'

           bank accounts.     The Bank Reconstruction includes the following fields of

           information for each transaction:

           a.    Bank account number reference;

           b.    Transaction date;

           c.    Transaction type;

           d.    Transaction amount;


                                               19 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 22 of 65
     


          e.    Payee/recipient; and

          f.    Ending balance.

    63.   To conduct my analysis, I used Actionable Intelligence Technologies Inc.’s

          Comprehensive Financial Investigative Solution (“CFIS”), which is a computer

          software company that converts bank statements from financial institutions into

          searchable databases (“CFIS Databases”).            I understand that CFIS is widely

          employed       as   a   financial   investigation     tool   by   U.S.   government

          agencies/organizations including the Internal Revenue Service and the Federal

          Bureau of Investigation.

    64.   I used the data from the CFIS Databases to populate the transactions in the Bank

          Reconstructions in chronological order. I verified that the data from the CFIS

          Databases matched the transactions listed in the bank statements by reconciling

          the following items on a monthly basis:

          a.    Beginning bank account balance;

          b.    Total credits/receipts;

          c.    Total debits/disbursements; and

          d.    Ending bank account balance.

    65.   Where the CFIS Databases did not include a payee/recipient for each transaction,

          I populated the payee/recipient information in the bank reconstruction using one of

          two sources:

          a.    The bank statement support which included:

                i.   Canceled checks;

                ii. Deposit slips and copies of checks deposited; and
                                                20 



                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 23 of 65
     


                 iii. Wire transfer support.

          b.     Data from the QuickBooks general ledgers, which was verified on a test

                 basis to the bank statement support further discussed below.

    66.   The Woodbridge Entities maintained their accounting general ledgers in

          QuickBooks accounting software (“QuickBooks”). The SEC provided me with the

          QuickBooks files listed in Exhibit E. See ¶73 for a comprehensive discussion

          regarding the QuickBooks analysis.      The activity in QuickBooks I analyzed was

          from July 2012 through April 28, 2017. I extracted the activity for each Woodbridge

          Entities’ bank account from QuickBooks and utilized the data as a source in

          populating the following additional fields in the bank reconstruction:

          a.     QuickBooks account; and

          b.     In some instances, to complete the process of populating payee/recipient

                 details, I utilized data from the QuickBooks accounting software to populate

                 the payee/recipient information in the Bank Reconstruction.

    67.   The SEC provided me with CFIS Databases that had been partially populated with

          data. I verified the information on a test basis.

    68.   Based on my years of training and experience, I assigned each transaction in the

          Bank Reconstruction to a category for purposes of analyzing and summarizing the

          data. In some instances, I assigned the QuickBooks category that was associated

          with the transaction. Exhibit F.2 includes the major categories I utilized in the

          Bank Reconstruction.

    69.   I aggregated the transactions in the Bank Reconstruction by category to prepare

          summaries of the activity in each Woodbridge Entities’ bank account. Exhibit F
                                                21 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 24 of 65
     


            is a combined summary of the Bank Reconstruction and Exhibit F.1 is a combined

            summary of the Bank Reconstruction presented by entity.

            Credit Card Reconstruction

    70.     The SEC provided me with the statements and CFIS Databases for the 16 credit

            card accounts listed in Exhibit D.1, which were all in the name of Jeri S. Shapiro,

            the spouse of Shapiro (“Shapiro Credit Card Accounts”).

    71.     I prepared a reconstruction (“Credit Card Reconstruction”) of the activity in the

            Shapiro Credit Card Accounts. See ¶106 for a discussion regarding the Credit

            Card Reconstruction analysis.

    72.     During the Relevant Time Period, approximately $24 million was paid towards the

            Shapiro Credit Cards Accounts, of which 99% of the payments were made from

            Woodbridge Entities. Exhibit G is a summary of the Credit Card Reconstruction

            subtotaled by charge category. I categorized the credit card transactions by payee

            and assigned a category. Exhibit G.1 includes the major categories utilized in the

            Credit Card Reconstruction.

    VIII.   ANALYSIS

            Accounting Investigation

    73.     I investigated and analyzed the Woodbridge Entities’ QuickBooks and evaluated

            if the transactions recorded by the Woodbridge Entities were consistent with the

            Bank Reconstruction.

    74.     The following are notable issues of concern and red flags with the Woodbridge

            Entities’ accounting records:


                                                22 



                                                                                                   
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 25 of 65
     


                  a.             The Woodbridge Operating Entities’ intercompany QuickBooks accounts

                                 did not reconcile with the Woodbridge Fund Entities’ intercompany

                                 accounts.

                  b.             The Woodbridge Fund Entities’ QuickBooks reflect mortgages receivable

                                 and some owned real estate assets.17 The manner in which the Woodbridge

                                 Fund Entities recorded these assets primarily comprised of journal entries

                                 as a “due to” in an intercompany account. There was no transfer of cash

                                 from the Woodbridge Fund Entities in such transaction, effectively creating

                                 assets with only book entries and not represented by a cash transaction.

                  c.             A significant amount of the interest income revenue recorded in the

                                 Woodbridge Fund Entities’ QuickBooks was not cash collected from third

                                 parties but instead was recorded as an intercompany receivable transaction

                                 with the Woodbridge Operating Entities.       Although an intercompany

                                 receivable transaction was recorded in the Woodbridge Fund Entities’

                                 QuickBooks, in many instances, no corresponding cash receipt was

                                 identified in the Woodbridge Operating Entities’ bank account nor was a

                                 corresponding journal entry reflecting the intercompany transaction

                                 recorded in the Woodbridge Fund Entities’ QuickBooks.18

                  d.             The Woodbridge Fund Entities recorded assets duplicative of the

                                 Woodbridge Operating Entities.



                                                                
    17
      The real estate assets owned by the WMIF Entities had a book value of approximately $11 million.   
    18
      In some instances, Structured transferred funds to the Woodbridge Fund Entities but there was no
    corresponding deposit from a third party noted in Structured’s QuickBooks.
                                                                   23 



                                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 26 of 65
     


    75.   As discussed in ¶60 of this Declaration, I prepared the Bank Reconstruction. I

          then compared the activity in the Bank Reconstruction to the Woodbridge Entities’

          QuickBooks. The QuickBooks records covered a period through April 28, 2017

          while the Bank Reconstruction covered the period through September 30, 2017.

    76.   Given the business model discussed in ¶19, it would be customary for the books

          and records of the Woodbridge Fund Entities to reflect the following accounting

          and banking transactional flow:

                   Receipt of funds from a WMIF Investor would be recorded as an

                    increase to cash and a corresponding liability due to the WMIF Investor

                    for the same amount.

                   The WMIF Investor funds would then be utilized to make loans in the

                    form of mortgages to borrowers. Accordingly, when the Woodbridge

                    Fund Entities made a loan to a borrower, there would be a decrease in

                    cash and a corresponding asset (Loan Receivable) recorded for the

                    amount of the loan.

                   When loan payments were received from the borrower, the Woodbridge

                    Fund Entities would record an increase in cash along with a

                    corresponding entry for interest income or principal reduction, if

                    applicable.

                   When the Woodbridge Fund Entities did not receive the monthly interest

                    due from the borrowers, the correct accounting treatment would be to

                    record an interest income receivable.


                                              24 



                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 27 of 65
     


                   WMIF Investors are paid Returns on a monthly basis. Accordingly, when

                    the monthly payments were made there would be a reduction in cash for

                    the amount of the payment made to the WMIF Investor along with a

                    corresponding entry for “interest expense”.

                   When a WMIF Investor’s note matured, the Woodbridge Fund Entities

                    would make a payment to the WMIF Investor for the principal amount of

                    the note which results in a decrease in cash and a reduction of the

                    liability due to the WMIF Investor.

                   When a borrower’s note became due, the Woodbridge Fund Entities

                    would receive cash from the borrower for the principal amount of the

                    note which results in an increase in cash and reduction of the note

                    receivable asset.

    77.   The above accounting transactions describe what one would expect to see in the

          bank accounts and the Woodbridge Fund Entities’ QuickBooks.

    78.   Instead, the account transactional flow reflected in the Woodbridge Fund Entities’

          accounting and bank records is as follows:

                   Receipt of funds from a WMIF Investor are received by one of the

                    respective Woodbridge Fund Entities and were recorded as an increase

                    to cash and a corresponding liability due to the investor for the same

                    amount.

                   Rather than using the funds to make loans to borrowers, the respective

                    Woodbridge Fund Entities instead transferred the WMIF Investor funds


                                               25 



                                                                                                
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 28 of 65
     


                                        to one of the Woodbridge Operating Entities (Structured or Group).19

                                        When this occurred, the Woodbridge Fund Entities recorded a reduction

                                        to cash and an increase in intercompany receivable.

                                       As a general rule, the Woodbridge Operating Entities utilized the

                                        commingled WMIF Investor funds to make large transfers to attorney

                                        trust accounts.            The Woodbridge Operating Entities recorded these

                                        transfers to the attorney trust accounts as a reduction to cash and an

                                        increase to an asset in QuickBooks without identifying any specific asset

                                        purchased or money loaned.

                                       At the same time, the Woodbridge Fund Entities also recorded the

                                        outflow of the same funds transferred to an attorney trust account by the

                                        Woodbridge Operating Entities as an increase to assets in their

                                        respective QuickBooks. Accordingly, there was a duplication of assets

                                        since the entry was recorded in both the Structured or Group’s

                                        QuickBooks as well as in the individual Woodbridge Fund Entities’

                                        QuickBooks. Table 2 compares the disbursements for Mortgage/Real

                                        Estate Investments per the Bank Reconstruction and the Mortgage/Real

                                        Estate Investments recorded in QuickBooks during the period from July

                                        11, 2012 to April 28, 2017 (the date of the last QuickBooks data




                                                                
    19
      Investor funds for Fund 1, 2, 3 were transferred to Structured. Around approximately January 2016, the
    investor funds stopped being transferred to Structured and began being transferred to Group.
    Structured’s bank account was closed in March 2016.
                                                                          26 



                                                                                                                       
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 29 of 65
     


                        available) and illustrates that the Woodbridge Entities assets are

                        potentially overstated by at least $790 million.

             Table 2 - Comparison of Mortgage/Real Estate Investments per QuickBooks
             and Bank Reconstruction as of April 28, 2017
                    Source: Bank Reconstruction and QuickBooks Files


                                Category                             Amount      Percentage
        Mortgage/Real Estate Investments per QuickBooks          $ 1,382,276,592   100.0%
        Mortgage/Real Estate Investments per Bank Reconstruction     592,174,371    42.8%
                               Variance                                 $   790,102,221      57.2%


                       Although one would expect to see a regular flow of mortgage interest

                        payments from the borrowers reflected in the Woodbridge Fund Entities’

                        bank accounts, I determined that there was minimal cash received from

                        borrowers for mortgage interest payments. Table 3 illustrates the

                        difference between the cash the Woodbridge Entities actually received

                        for mortgage interest income and the mortgage interest income

                        recorded in QuickBooks during the period from July 11, 2012 to April 28,

                        2017 (the date of the last QuickBooks data available):

                    Table 3 - Comparison of Mortgage Interest Income per QuickBooks
                    and Bank Reconstruction as of April 28, 2017
                    Source: Bank Reconstruction and QuickBooks Files


                                Category                                 Amount     Percentage
           Mortgage Interest Income per QuickBooks                     $ 92,909,206   100.0%
           Mortgage Interest Income per Bank Reconstruction              13,312,415    14.3%
                                Variance                               $ 79,596,791       85.7%




                                                    27 



                                                                                                      
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 30 of 65
     


                   Essentially, the Woodbridge Fund Entities recorded the mortgage

                    interest income in QuickBooks as if it had been received but instead of

                    increasing cash, it increased an intercompany receivable account

                    because the entire $92.9 million was not actually received in cash, only

                    $13.3 million was. In other words, there is a potential overstatement of

                    approximately $80 million of book revenue due to the fact that the loans

                    were made to entities that are affiliated with Shapiro (“Affiliated Entities”)

                    and they did not make the monthly interest payments. The manner in

                    which the Woodbridge Fund Entities recorded these transactions was

                    deceptive. One would expect that any interest not collected would be

                    recorded as an “interest income receivable” asset.              Instead, the

                    Woodbridge Fund Entities masked these transactions by recording them

                    as “intercompany”, which makes it difficult for a reader of the financial

                    statements to identify that there were large amounts of interest income

                    which had not been collected.

    79.   The manner in which the Woodbridge Entities recorded their transactions was not

          reflective of the customary accounting entries one would expect. The Woodbridge

          Entities’ accounting records do not reflect the correct amount of income and assets

          that is consistent with the cash flow activity reflected in the Woodbridge Entities’

          bank records, resulting in an artificial representation of the income generated and

          assets available to pay WMIF Investors.




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Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 31 of 65
     


                  Ponzi Scheme - Definitions and Attributes

    80.           The SEC defines a Ponzi scheme as follows:20

                  “A Ponzi scheme is an investment fraud that involves the payment of purported returns
                  to existing investors from funds contributed by new investors. Ponzi scheme organizers
                  often solicit new investors by promising to invest funds in opportunities claimed to
                  generate high returns with little or no risk. In many Ponzi schemes, the fraudsters focus
                  on attracting new money to make promised payments to earlier-stage investors to
                  create the false appearance that investors are profiting from a legitimate business.”


    81.           The Forensic & Valuation Services Practice Forensic Accounting – Fraud

                  Investigations, published by the American Institute of Certified Public Accountants,

                  defines a Ponzi scheme as follows:

                  “A Ponzi or pyramid scheme is usually a venture wherein earlier investors are repaid
                  principal plus interest with funds provided by later investors. There may or may not be
                  a legitimate business purpose for the venture, but the need for capital creates and
                  continues the scheme. Often, unusually high investment returns or other inducements
                  are offered by the promoters to attract investors. " 21

    82.           Each Ponzi scheme typically shares three common characteristics:

                                       The business activity depends on outside investor money.

                                       The investor money is not used according to the stated purpose. Some

                                        of the investor money is used to pay the returns promised to earlier

                                        investors.

                                       The business enterprise lacks profits sufficient to provide the promised

                                        returns and, therefore, depends on an ever-increasing supply of investor

                                        money.



                                                                
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      http://www.sec.gov/answers/ponzi.htm
    21
      Forensic & Valuation Services Practice Aid Forensic Accounting – Fraud Investigations, published by
    the American Institute of Certified Public Accountants 2014, page 58 – Ponzi.
     
                                                                   29 



                                                                                                                    
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 32 of 65
     


    83.   The fuel for a Ponzi scheme is new investor money, in whatever form and label.

          Out of necessity such a scheme cannot survive in perpetuity and is doomed to

          collapse. New money is the fuel to perpetuate the life span of a Ponzi scheme.

          Ponzi schemes manifest in various forms and portray the following characteristics:

          a.    Raising funds from investors/lenders. Such sources may include individuals

                or financial institutions in the form of debt or equity. However, such

                distinction is of little importance and is irrelevant since accepting the

                investor money conceives an obligation to return the funds. Furthermore,

                the profits necessary to provide a return to the investors are nonexistent in

                a Ponzi scheme.

          b.    Ponzi schemes invariably make false promises to investors that they cannot

                deliver on.

          c.    Extensive comingling of funds through multiple entities and layers.

          d.    Making of false promises and pitching a business as legitimate while

                knowing that the money would be used to feed the promises made to prior

                investors for personal benefits.

          e.    There is no supportable business activity generating profits or working

                capital, thus the only source of funds to fulfill the commitments to the

                investors is new investor funds.

          f.    Ponzi schemes often record transactions in a circular and convoluted

                manner and maintain accounting records that reflect assets and income are

                sufficient to fulfill the promises made to investors.


                                               30 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 33 of 65
     


          g.    The accounting records are window-dressed to reflect assets and income

                based on book entries versus actual transactions, thereby giving a false

                impression that the funds raised from investors were wisely invested and

                generating profits.

          h.    The business model as represented by the schemer to the investors is not

                consistent with the true activities and manner of conducting transactions.

          Ponzi Analysis

    84.   My analysis and investigation revealed that the Woodbridge Entities conducted

          transactions in a manner consistent with the attributes of Ponzi scheme.

          Raising Funds from Investors/Lenders

    85.   Exhibit F is a combined summary of the Bank Reconstruction. During the Relevant

          Time Period, the Woodbridge Entities received $1.2 billion from 8,400 WMIF

          Investors and made principal payments to WMIF Investors totaling approximately

          $265 million, resulting in a net liability due to WMIF Investors of approximately

          $961 million. Also during this period, Returns payments made to WMIF Investors

          totaled approximately $103 million. Approximately 700 of the WMIF Investors

          resided in the Southern District of Florida and invested approximately $114 million.

    86.   From July 11, 2012 through September 30, 2017, the Woodbridge Entities

          generated approximately $47.9 million of income, of which only $13.7 million was

          interest payments from borrowers. Conversely, they funded more than $103 million

          of Returns to WMIF Investors labeled as interest and dividend payments. Based

          on the Bank Reconstruction, other than investor funds, there was no other

                                               31 



                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 34 of 65
     


                  meaningful source of operating or other cash flow to the Woodbridge Entities to

                  fund the difference between the WMIF Investor Returns and mortgage interest

                  income.22 This mismatch of interest income and Returns was not consistent with

                  the business model represented to WMIF Investors.

    87.           As early as the third quarter of 2012 (the first quarter in which there were funds

                  received from WMIF Investors), the Woodbridge Entities did not generate sufficient

                  income to pay investor Returns, operating expenses and insider activity, creating

                  a net operating cash flow deficit. Until the first quarter of 2013, the Woodbridge

                  Entities utilized a cash balance carried over from Structured’s activities, funds

                  received from certain other Shapiro related entities, and funds received from other

                  non-WMIF investors to fund the cash flow deficits. Beginning in the second quarter

                  of 2013, the Woodbridge Entities had continuing cash flow deficits (excess of

                  investor Returns and operating expenses over income earned and sources

                  available from other Shapiro related entities and other non-WMIF investors) in

                  each quarter and the only source of funds available to fund the cash flow deficits

                  was WMIF Investor funds. This cash flow deficit grew to more than $250 million

                  as of September 2017.

    88.           The Woodbridge Entities did not generate sufficient cash flow from mortgage

                  receivables, other real estate investments or any other source to fund the

                  payments to investors. Clearly, even with the use of the cash balance carried over



                                                                
    22
      Structured received $31 million of income in years 2012 to 2014 which was related to its structured
    settlement business. This revenue did not appear to be related to the Woodbridge Fund Entities
    business. 
                                                                   32 



                                                                                                             
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 35 of 65
     


          from Structured’s activities the only other source of funds available to the

          Woodbridge Entities to make the $265 million of principal payments and $103

          million in Returns to WMIF Investors were funds from later investors, a classic

          Ponzi scheme attribute.

          Commingling of Funds

    89.   Although each of the Woodbridge Entities maintained a separate bank account

          and QuickBooks file, there were transfers totaling approximately $1.66 billion,

          exceeding 10,700 transactions, between the Woodbridge Entities resulting in

          extensive commingling of investor funds.

          No Supportable Business Activity

    90.   The Woodbridge Fund Entities were supposed to generate revenues from

          mortgage interest income but the execution of their business model was flawed. A

          substantial amount of the loans made by the Woodbridge Fund Entities were not

          arms- length transactions and did not generate cash flow.

    91.   I determined that when a borrower’s note became due, the Woodbridge Fund

          Entities generally did not receive the amount due, yet the Woodbridge Fund

          Entities continued to accrue mortgage interest payments.

    92.   The SEC provided me with information regarding the borrowers including copies

          of promissory notes for certain borrowers and information related to the properties

          that serve as collateral for the loans. Very pertinently, the documents indicated

          that many of the borrowers are not third party or unrelated arms-length entities;

          rather they are Affiliated Entities.

                                                 33 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 36 of 65
     


    93.           All the Woodbridge Fund Entities loaned funds to both third parties and Affiliated

                  Entities. However, from July 2012, when WMIF 1 began raising funds from WMIF

                  Investors, the amount of funds loaned to non-Affiliated entities, including loans

                  outstanding and paid off, was approximately 75% and approximately 25% was

                  loaned to Affiliated Entities. Beginning in December 2013, when WMIF 2 was

                  formed, and subsequently with WMIF 3, WMIF 3a, WMIF 4, the amount of funds

                  loaned to Affiliated Entities, including loans outstanding and paid off, was in excess

                  of 70% (and as high as 98%).23

    94.           I analyzed the promissory notes the Woodbridge Entities were party to, including

                  the mortgage receivables recorded in QuickBooks. I determined that as of April 28,

                  201724 out of $736 million in loans outstanding25, $718 million (98%) are due from

                  Affiliated Entities. I determined that these borrowers are not making regular interest

                  payments and the Woodbridge Fund Entities simply recorded interest income for

                  book purposes only.26

    95.           By way of example, I analyzed the widely publicized purchase of the Owlwood

                  Estate located in California. One of the Affiliated Entities purchased the Owlwood

                  Estate in September 2016 for $90 million. The Woodbridge Fund Entities made

                  two loans totaling $90 million at the time of the purchase (effectively a 100%



                                                                
    23
       These amounts were determined using known borrowers.
    24
       The date of the QuickBooks file.
    25
       I was not able to determine if the loan was outstanding if the promissory note was not provided.
    Additionally, I did not receive the promissory notes for the mezzanine loans, as such I assumed the
    mezzanine loan had the same maturity date as the regular mortgage.
    26
       The Woodbridge Entities received approximately $2.9M from the Affiliated Entities. In all instances,
    with one exception, the Woodbridge Entities recorded these receipts as a reduction to an asset labeled as
    “investment” on the balance sheet.
                                                                   34 



                                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 37 of 65
     


                  financing at the time of purchase) and a third loan for development summarized in

                  Table 4 as follows:

                  Table 4 – Owlwood Estate Loan Summary
                  Source: QuickBooks

                                                      Entity          Loan Type       Loan Amount

                                                WMIF 3a            Regular Mortgage   $   63,000,000
                                                WMIF 3a            Mezzanine Loan         27,000,000
                                                                       Subtotal           90,000,000
                                                WMIF 3a            Development Loan       22,000,000
                                                                         Total        $ 112,000,000


    96.           The Owlwood property was more than 100% financed. WMIF 3a has recorded

                  more than $9 million in accrued interest income but has not collected any cash

                  flow related to this property.

                  Benefits to Insiders of Ponzi Scheme

    97.           As discussed in ¶104 below, Shapiro, his family members and related entities

                  benefited from the Ponzi scheme and received more than $21.2 million during the

                  Relevant Time Period.  

                  Woodbridge Fund Entities’ Investors

    98.             As discussed in ¶21, the WMIF Investors included both FPCM and Fund Investors.

                  Approximately 76% of the WMIF Investors were originally recorded as FPCM

                  Investors or short -term investors.27




                                                                
    27
       Some investors may have transferred their investment from FPCM to Fund. The Bank Reconstruction
    and information presented here is based on the original investor classification and does not consider this
    transfer.   
                                                                            35 



                                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 38 of 65
     


    99.           Table 5 summarizes the WMIF Investor activity for the Woodbridge Entities. I

                  classified a WMIF Investor to the Woodbridge Entities based on where the WMIF

                  Investor funds were originally deposited. I determined if a WMIF Investor was a

                  FPCM or Fund Investor based on the QuickBooks category associated with the

                  transaction.28

                  Table 5 – Incoming Investor Funds Summary

                  Source: Exhibit F.1

                                                  FPCM Investor Fund Investor Unknown Type
                           Entity                                                                Total
                                                     Funds         Funds        Investors
                    Structured                    $   4,290,934 $     469,153 $          -   $   4,760,087
                    Group                             1,319,268           -              -       1,319,268
                    WMIF 1                           85,850,185     9,337,500      4,172,382    99,360,067
                    WMIF 2                          140,075,674    22,506,789      3,008,841   165,591,304
                    WMIF 3                          325,096,443    44,683,952     18,460,042   388,240,437
                    WMIF 3a                         269,705,650    61,011,339     30,972,583   361,689,572
                    WMIF 4                          111,258,929    23,344,852     71,382,717   205,986,498
                    Total                              $937,597,083   $ 161,353,585   $ 127,996,565 $1,226,947,233
                    Percentage                               76.4%       13.2%           10.4%          100.0%

    100.          Given that the business model of the Woodbridge Fund Entities is to borrow funds

                  from investors and use those funds to make real estate loans to borrowers, since

                  at least 76% of investors were FPCM Investors with a short investment term, the

                  business model would have collapsed because many of the Affiliated Borrowers

                  are not repaying the loans when they become due (see ¶94). But the scheme


                                                                
    28
      For the time period in which the QuickBooks file was not available I categorized WMIF Investor funds
    using deposit memos and payee names (i.e. if the payee was from a previous investor). I also assumed
    funds received from individuals in rounded dollar amounts (in even $5,000 increments) or funds from
    previously identified trust companies. I determined that monthly interest income payments and mortgage
    principal repayments were commonly for uneven amounts and were mainly from corporations, law firms
    or escrow/title companies.
                                                                        36 



                                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 39 of 65
     


                  continued to survive because FPCM Investors rolled over their investments and

                  kept their money invested in the WMIF Fund Entities and the Woodbridge Entities

                  continued to raise new investor funds.

    101.          When a WMIF Investors’ note matured, the Woodbridge Fund Entities make a

                  payment to the WMIF Investors for the principal amount of the note which results

                  in a decrease in cash and a reduction of the liability due to the investor.         My

                  analysis revealed that in most instances WMIF Investors were not paid when their

                  notes became due and instead their principal investment was retained by the

                  Woodbridge Fund Entities.

    102.          The Woodbridge Entities received $394 million from IRA custodian accounts from

                  more than 2,600 WMIF Investors. These funds were received by the Woodbridge

                  Entities directly from the various IRA Custodians for the benefit of the WMIF

                  Investors. Over 75% of the total funds from IRA Custodians were received from

                  two IRA Custodians.

                  Cease and Desist Orders

    103.          Texas, Massachusetts, Arizona and Pennsylvania have issued cease and desist

                  orders. Using addresses from the bank records, I identified WMIF Investors who

                  invested in the Woodbridge Fund Entities after the cease and orders were filed in

                  each state. The cease and desist order applied to FPCM investments.

                  a.             On May 4, 2015, the Massachusetts cease and desist order was issued.29

                                 Subsequent to that date through September 30, 2017, 11 WMIF Investors


                                                                
    29
      Commonwealth of Massachusetts Office of the Secretary of the Commonwealth Securities Division
    Order, May 04, 2015, Docket E-2015-0039. 
                                                                   37 



                                                                                                            
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 40 of 65
     


                                 in Massachusetts have invested $3.2 million in the Woodbridge Fund

                                 Entities’ FPCM investments.30

                  b.             On July 17, 2015, the Texas cease and desist order was issued.31

                                 Subsequent to that date through September 30, 2017, 25 WMIF Investors

                                 in Texas have invested $2.3 million in the Woodbridge Fund Entities’ FPCM

                                 investments.32

                  c.             On October 04, 2016, the Arizona cease and desist order was issued.33

                                 Subsequent to that date through September 30, 2017, 13 WMIF Investors

                                 in Arizona have invested $900,000 in the Woodbridge Fund Entities’ FPCM

                                 investments.34

                  d.             On April 24, 2017, the Pennsylvania cease and desist was issued.35

                                 Subsequent to that date through September 30, 2017, 31 WMIF Investors

                                 in Pennsylvania have invested $2.6 million in the Woodbridge Fund Entities’

                                 FPCM investments.36

     


                                                                
    30
       Additionally, I identified an additional 4 WMIF Investors who invested $635,000, for which the investment
    type (i.e. FPCM or Fund) is unknown.
    31
       Texas State Securities Board, Emergency Cease and Desist Order, July 17, 2015, Order ENF-15-CDO-
    1740.
    32
       Additionally, I identified an additional 4 WMIF Investors who invested $320,000, for which the
    investment type (i.e. FPCM or Fund) is unknown.
    33
       Temporary Order to Cease and Desist and Notice of Opportunity for Hearing, Arizona Corporation
    Commission, October 04, 2016, Docket No. S-20988A-16-0354.
    34
       Additionally, I identified 4 WMIF Investors who invested $200,000, for which the investment type (i.e.
    FPCM or Fund) is unknown, 2 of these WMIF Investors also invested in FPCM investments during this
    time period.
    35
       Commonwealth of Pennsylvania Department of Banking and Securities Consent Agreement and Order,
    April 24, 2017, Docket No. 17-0008 (SEC-OSC).
    36
       Additionally, I identified 56 WMIF Investors who invested $4.1 million, for which the investment type (i.e.
    FPCM or Fund) is unknown, 4 of these WMIF Investors also invested in FPCM investments during this
    time period. 
                                                                   38 



                                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 41 of 65
     


           Payments to or for the Benefit of Shapiro

    104.   During the Relevant Time Period, the Woodbridge Entities made payments

           totaling $53.2 million to Shapiro or entities or individuals associated with him. The

           Woodbridge Entities received $32 million from Shapiro or entities or individuals

           associated with him for net payments totaling $21.2 million, while the payment of

           promised Returns to investors was being funded from new investor money.

           Exhibit H is a summary of these payments.

    105.   Of the $21.2 million in net payments to Shapiro or entities or individuals associated

           with him, approximately $15.5 million were payments made on behalf of Shapiro

           and approximately $5.7 million were payments made to entities or individuals

           associated with him, as follows:

           a.     The composition of the $15.5 million in payments made on behalf of Shapiro

                  is as follows:

                  i.   $8.9 million were payments to the Shapiro Credit Card Accounts for

                       personal charges;

                  ii. $3.1 million were for private plane expenses which primarily comprised

                       of payments to charter companies; and

                  iii. $3.5 million were also payments made to third parties for the benefit of

                       Shapiro categorized in the Woodbridge Entities’ QuickBooks as

                       “executive salary - Bob” such as:

                       1. Joy Gravenhorst              $1.2 million

                       2. Luxury vehicles              $340,000

                       3. The Falls Country Club       $130,000
                                                 39 



                                                                                                    
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 42 of 65
     


                  b.             The composition of the $5.7 million in net payments made to entities or

                                 individuals associated with Shapiro, included the following :

                                 i.     $1.7 million were payments to Moorpark Boca Funding, LLC

                                 ii. $1.3 million were payments to Scott Schwartz and Up and Coming

                                        Capital, LLC

                                 iii. $1.3 million were payments to Jeri Shapiro

    106.          Of the $8.9 million in payments to the Shapiro Credit Card Accounts for personal

                  charges as described above, the                  following are examples of the personal credit

                  card charges37:

                  a.             $1.6 million was spent on travel expenses. Table 6 is a summary of the

                                 travel expenses: 




                                                                
    37
      In total, the Woodbridge Entities paid $24 million to the Shapiro Credit Card Accounts of which $8.9 million were for
    personal charges. 
                                                                   40 



                                                                                                                               
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 43 of 65
     


                                 Table 6 – Travel Expense38
                                 Source: Credit Card Reconstruction
                                                                   Payee                 Amount
                                  Four Seasons Hotels                                  $   120,073
                                  The London                                                83,972
                                  United                                                    78,297
                                  Ritz Carlton                                              72,456
                                  Seagate Hotel And Spa                                     67,300
                                  Virgin America                                            56,868
                                  American Airlines                                         50,445
                                  Hertz Rent-A-Car                                          50,322
                                  Mr. C's Hotel                                             45,352
                                  Rocky Mountain Limo                                       40,382
                                  Delta                                                     38,158
                                  Ventanas Al Paraiso                                       35,587
                                  Hotel Le Bristol                                          35,302
                                  Snowmass Ski Area                                         32,852
                                  Lax Maria's Limo                                          34,180
                                  Other                                                    749,977
                                  Total Travel Expense                                 $ 1,591,523


                  b.             $1.6 million was spent on retail items that’s include furniture, décor and

                                 other home related items. Table 7 is a summary of these expenses:




                                                                
    38
      I included only the significant payees in the table, the remaining payee charges are totaled in “Other”
    payees that appear to be travel related.
                                                                       41 



                                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 44 of 65
     


                                 Table 7 - Furniture, Décor & Home Expense39
                                 Source: Credit Card Reconstruction
                                                              Payee                          Amount
                                       Roaring Fork Furniture                              $   143,406
                                       Flooring Liquidators & More                              93,187
                                       Angulo Custom Furnishing                                 90,512
                                       Lowes                                                    75,655
                                       Restoration Hardware                                     59,303
                                       Moda Italia Home Furnishing                              70,673
                                       Mitchell Litt Antiques                                   69,530
                                       Christie's Ny Auction                                    63,125
                                       Aspen Design Room                                        49,397
                                       Nest Furnishings & Con                                   43,693
                                       Bed Bath & Beyond                                        42,030
                                       Custom Blind & Carpet                                    40,494
                                       Other                                                   759,610
                                       Total Retail - Furniture, Décor & Home Expense      $ 1,600,615

                  c.             $1.4 million was spent on luxury retail items. Table 8 is a summary of these

                                 expenses:

                                 Table 8 – Luxury Retail Purchases40
                                 Source: Credit Card Reconstruction
                                                                   Payee                Amount
                                                XIV Karats Ltd                        $   436,627
                                                Bvlgari                                   152,439
                                                Louis Vuitton                             130,294
                                                Vhernier                                   90,200
                                                Chanel                                     58,868
                                                Jimmy Choo                                 51,048
                                                Ermenegildo Zegna                          42,845
                                                Dolce & Gabbana                            42,486
                                                FarFetch                                   26,876
                                                Fendi                                      32,625
                                                Other                                     307,211
                                                Total Luxury Retail Expense           $ 1,371,518

                                                                
    39
       I included only the significant payees in the table, the remaining payee charges are totaled in “Other”
    payees that appear to be related to Furniture, Décor & Home purchases.
    40
       I included only the significant payees in the table, the remaining payee charges are totaled in “Other”
    payees that appear to be luxury retailers. 
                                                                     42 



                                                                                                                  
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 45 of 65
     


           d.    Table 9 summarized charges that I identified as other personal related

                 charges:

                 Table 9 – Other Personal Charges
                 Source: Credit Card Reconstruction


                                        Payee                               Amount
                 US Treasury                                              $  1,187,839
                 Meals & Entertainment Charges                                 697,143
                 Political Donations                                           586,538
                 Clothing, Beauty & Accessories                                514,926
                 Technology Stores (including Best Buy and Apple)              429,542
                 Department Stores(including Amazon)                           340,721
                 Wine on the Way (an online wine store)                        308,511
                 Groceries and Pharmacies                                      101,628
                 Medical Charges (including doctors and vets)                   80,864
                 Spas and Salons                                                26,457
                 Cigar Stores                                                   14,208
                 O'Gara Coach Co - Luxury Car Dealer                            11,513
                 Dirty Devil Customs Auto Body Shop                             10,280
                 Total Other Personal Charges                             $ 4,310,170


           Operating Expenses

           Commission Expense

    107.   The Woodbridge Entities paid commissions totaling approximately $64.5 million

           during the Relevant Time Period.      Additionally, I determined that over $12 million

           of the commission expense was paid to 20 different sales agents located in the

           Southern District of Florida. I used the addresses on the last check paid to each

           sales agent to determine where the payments were being mailed.




                                                  43 



                                                                                                 
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 46 of 65
     


                  Other Operating Expenses

    108.          Operating expenses were paid out of the Woodbridge Operating Entities’ bank

                  accounts. The Woodbridge Fund Entities did not make payments for operating

                  expenses other than a minimal amount of bank fees.

    109.          Per Exhibit F, operating expenses paid during the Relevant Time Period includes

                  $43 million for payroll, $16.6 million for professional fees and $44 million for other

                  operating expenses.

    110.          By way of example, other operating expenses of $44 million includes the following

                  items:

                  a.             $14 million in payments to Chase and $4 million in payments to Citibank

                                 where Woodbridge Entities categorized the transaction as an operating

                                 expense.41

                  b.             Over $2.4 million in payments to Blue Cross & Blue Shield of Florida for

                                 health insurance.

                  c.             Over $1.8 million in rent payments for the California and Boca offices. This

                                 includes $1.2 million in payments to SMP, LLC and $.6 million in payments

                                 to Glades First Center, LLC. I determined these transactions were related

                                 to the rental of office space based on check memos.

                  d.             $1.1 million to Viacom Receivables Funding Corp and $1 million to TBS

                                 Funding. These transactions were categorized as “TV Commercial/Media”

                                 in Structured’s QuickBooks.


                                                                
    41
         These payments are included in the $24 million discussed in Footnote No. 37.
                                                                   44 



                                                                                                              
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 47 of 65



              e.      Over $900,000 to Blanchard & Company Inc., a rare coin and precious

                      metal firm42 . These transactions were categorized as "Client Gifts" expense

                      in the Woodbridge Operating Entities' QuickBooks.



                                       ******************************************




   111.       As of the filing date of this Declaration, certain bank, accounting and other financial

              records remain pending. My analysis and findings are based on the documents

              referenced herein and information to date.


   112.       I reserve the opportunity to revise or supplement this Declaration based on

              additional information that may become available.



   I declare under penalty of perjury that the foregoing is true, correct, and made in good

   faith.



   Dated: December 18, 2017




                                                               Soneet R. Kapila~ CP~, CIRA, CFF, CFE




   42   https://www.blanchardgold.com/about/gold-company/
                                                       45

                                                                        KapilajMukamal
 Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 48 of 65
                                                                       EXHIBIT A
                        Soneet R. Kapila, CPA, CIRA, CFE, CFF
                                                           kapila@kapilamukamal.com

Soneet R. Kapila is a founding partner of KapilaMukamal, LLP (formerly Kapila & Com-
pany). For over 20 years, he has concentrated his eﬀorts in the areas of      consul ng in
insolvency, fiduciary and creditors’ right ma ers.       Recognized for his acumen as a
“business man”, he has been appointed in Federal District Court, Bankruptcy Court and
Florida State Court and served in the roles of Chief Restructuring Oﬃcer, S.E.C. Corporate
Monitor, Examiner, Chapter 11 Trustee of Opera ng Businesses, Liquida ng Trustee and
Receiver, among others.

Professional Experience
Mr. Kapila’s prac ce is focused on restructuring, creditors’ rights, bankruptcy, fiduciary ma ers and financial transac ons li ga-
 on. He represents other bankruptcy trustees, debtors and both secured and unsecured creditors in and out of bankruptcy
court. He also regularly advises clients about insolvency and implica ons involved in business transac ons and the opera on of
distressed businesses. As a Trustee plain ﬀ, Mr. Kapila has managed complex li ga on in significant cases.

As a fiduciary, he has advised and represented debtors and creditors’ commi ees in formula ng, analyzing and nego a ng
plans of reorganiza on. Recognized as a expert in fraudulent conveyance, Ponzi schemes and insolvency issues, Mr. Kapila has
provided expert tes mony and extensive li ga on support services to law firms involving complex insolvency issues and com-
mercial damages. He is a si ng trustee on the panel of U.S. Bankruptcy Trustees (Southern District of Florida) and has served in
numerous ma ers in both the Southern and Middle Districts of Florida.

He has conducted numerous forensic and fraud inves ga ons and has worked in conjunc on with the Securi es and Exchange
Commission (SEC), Federal Bureau of Inves ga on (FBI) and the United States A orney’s Oﬃce.


EDUCATION / QUALIFICATIONS                                     PROFESSIONAL AFFILIATIONS

                                                               American College of Bankruptcy
Cer fied Public Accountant (CPA) ‐ Florida
                                                               American Ins tute of Cer fied Public Accountants
Cer fied Insolvency and Restructuring Advisor (CIRA)           Florida Ins tute of Cer fied Public Accountants
Cer fied Fraud Examiner (CFE)                                  Associa on of Insolvency & Restructuring Advisors
Cer fied in Financial Forensics (CFF)                          Associa on of Cer fied Fraud Examiners
Cer fied in Bankruptcy Media on—Training                       American Bankruptcy Ins tute
—St. John’s University (2014)                                  Na onal Associa on of Bankruptcy Trustees
MBA, Cranfield School of Management Studies,                   Na onal Associa on of Federal Equity Receivers
England (1978)

                                                               ACCOMPLISHMENTS
ROLES                                                             Fellow, American College of Bankruptcy – 2013
Bankruptcy Trustee—Chapter 7, 11                                  Top CPAs and Li ga on Support Professionals,
Liquida ng Trustee / Plan Administrator                                 South Florida Legal Guide—mul ple years
Chief Restructuring Oﬃcer                                         Power Leaders in Law and Accoun ng –
Corporate Monitor / Examiner                                             South Florida Business Journal – 2015, 2014
Receiver / Assignee                                               Best Trustee – Daily Business Review’s Best of 2012
                                                                  Key Partners Award Honoree –
                                                                        South Florida Business Journal – 2010
AREAS OF EXPERTISE                                                Bronze Medal Award – 3rd highest score,
                                                                        Examina on of the Associa on of Insolvency
Bankruptcy and Insolvency
                                                                        and Restructuring Advisors – 1996
Creditors Rights
Restructuring
Financial Transac ons Li ga on
Complex Commercial Li ga on
 Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 49 of 65
                                                                       EXHIBIT A
                                                                 Soneet R. Kapila, CPA, CIRA, CFE, CFF
                                                                                                     kapila@kapilamukamal.com

SPEAKING ENGAGEMENTS                                             REPRESENTATIVE CLIENTS

American Bankruptcy Ins tute                                     City of Detroit, Michigan       Financial Advisors to Fee Examiner
New York Law School                                              SMF Energy Corpora on                    CRO, Liquida ng Trustee
St. Thomas University Law School
                                                                 Fontainebleau Las Vegas, LLC                   Chapter 7 Trustee
Na onal Conference of Bankruptcy Judges
Na onal Associa on of Bankruptcy Trustees                        Universal Health Care Group, LLC/
Associa on of Insolvency & Restructuring Advisors                American Managed Care, Inc. Chapter 11 / Liquida ng Trustee
Bankruptcy Bar Associa on for the Southern District of Florida   Simply Fashion Stores, LLC              Chief Restructuring Oﬃcer
Central Florida Bankruptcy law Associa on
Florida Bankruptcy Bar                                           Spear & Jackson, Inc        Corporate Monitor – SEC Appointment
Florida Ins tute of Cer fied Public Accountants                  Pan American Hospital               Examiner / Plan Administrator
Na onal Business Ins tute
Turnaround Management Associa on                                 Louis J. Pearlman / TransCon nental Airlines, et al –
                                                                                             Chapter 11 Trustee / Liquida ng Trustee
University of Miami, School of Law
Florida Interna onal University, School of Law                   Levi & Sons                                   Chief Administrator
Stetson College of Law, Insolvency Symposium – Germany
                                                                 Planet Hollywood Interna onal, Inc                      Examiner
American Bar Associa on
                                                                 Banco La no Interna onal             Financial Consultants to
                                                                                        Oﬃcial Commi ee of Unsecured Creditors
                                                                 Southeast Bank Corp     Financial Advisors to Chapter 7 Trustee
CIVIC, VOLUNTEER AND PHILANTHROPIC
                                                                 Innovida Holdings, LLC /Claudio Osorio         Chapter 7 Trustee
‐ Past and Present
                                                                 Prime Capital Corpora on                        Chapter 7 Trustee
The Kapila Family Founda on ‐ Director
American Bankruptcy Ins tute -                                   GunnAllen Financial, Inc. Ch 11 Examiner/Liquida ng Trustee
 Member of Board of Directors - 2016                             SEC v. Christopher Freeman Brogdon          Corporate Monitor
 Southeast Regional Conference:                                                                                  ‐ SEC Appointment
   Chairperson of Advisory Board, 2016
   Advisory Board, - 2012-2017 and Co-Chair 2015
 Caribbean Insolvency Symposium -
   Advisory Board—2010-2014 amd Co-Chair 2015                    PUBLICATIONS

Associa on of Insolvency and Restructuring Advisors -            “Best Prac ces in the Treasury Func ons of a Chapter 7
  Board of Directors                                             Trustee’s Oﬃce” – American Bankruptcy Trustee Journal
  Past Chairman and Past President                               (NABT) (Fall, 2015)

The Florida Bar, Member, Grievances Commi ee                     “Fraud and Forensics: Piercing Through The Decep on In A
                                                                 Commercial Fraud Case” – American Bankruptcy Ins tute –
Hialeah‐Miami Springs, NW Dade Chamber of Commerce -             2015
   Board of Directors (Past)
                                                                 “Ponzi Schemes: Fiduciaries May Be The Saving Grace”, ABI
The American Group of CPA Firms ‐ Chairman
                                                                 Journal (2014)
  – Li ga on Support Services Commi ee of the
   Na onal Training and Experience Sharing Program
                                                                 “A Health Care Fraud and Bankruptcy Primer”, Southern
Florida Ins tute of Cer fied Public Accountants ‐                District of Florida Bankruptcy Bar Associa on Journal (2014)
   Prac ce Review Commi ee
                                                                 “Hidden Resources in a Small Business”
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Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 50 of 65
                                                                      EXHIBIT B

                                         Melissa Davis, CPA, CIRA, CFE
                                                             mdavis@kapilamukamal.com


Melissa Davis is a Partner at KapilaMukamal, LLP. She joined the firm in 1998. Her
prac ce concentrates on insolvency and fiduciary ma ers. Ms. Davis has qualified as an
expert in federal court, tes fied in trials, hearing and deposi ons. She has served as a
court appointed Assignee for the Benefit of Creditors and as Plan Trustee in Chapter 11
bankruptcy ma ers. She has worked on numerous high profile cases.

Professional Experience
Ms. Davis concentrates on providing bankruptcy, li ga on and forensic inves ga on services to debtors, creditors, receivers,
assignees, bankruptcy trustees, examiners and liquida ng trusts. Her prac ce also includes forensic accoun ng, fraud inves -
ga ons and li ga on support and family law ma ers.

Ms. Davis has served as a financial advisor to fiduciaries opera ng distressed companies in a variety of industries including
mobile fueling, health insurance, real estate, retail, hospitality, assisted living facili es/nursing homes, metal extrusion, steve-
doring and waste management. Her experience includes distressed business opera ons, management, preserva on of collat-
eral and asset dives ture services.

Ms. Davis has inves gated fraudulent and preferen al transfers, prepared defense, solvency and liquida on analyses. She has
worked on asset tracing, tracing of commingled funds, provided li ga on support and damage calcula on services, including
forensic and securi es fraud inves ga ons and corporate business conduct analysis. Ms. Davis has extensive experience in
fraud and Ponzi-scheme inves ga ons and commingled funds tracing analysis. Her forensic and fraud inves ga ons have in-
volved working in conjunc on with the Securi es and Exchange Commission (SEC.), the Federal Trade Commission (FTC), the
Federal Bureau of Inves ga on (FBI) and various United States A orneys Oﬃces.

Ms. Davis has tes fied in court and deposi ons and served as Liquida ng Trustee and court appointed Assignee for the Benefit
of Creditors.




EDUCATION / QUALIFICATIONS                                           PROFESSIONAL AFFILIATIONS
Cer fied Public Accountant (CPA) ‐ Florida                           American Ins tute of Cer fied Public Accountants
Cer fied Insolvency and Restructuring Advisor (CIRA)                 Florida Ins tute of Cer fied Public Accountants
Cer fied Fraud Examiner (CFE)                                        Associa on of Insolvency & Restructuring Advisors
                                                                     Associa on of Cer fied Fraud Examiners
Florida Atlan c University, Boca Raton, Florida —
Bachelor of Business Administra on,                                  American Bankruptcy Ins tute
Major in Accoun ng,                                                  Interna onal Women’s Insolvency & Restructuring
                                                                         Confedera on
AREAS OF EXPERTISE                                                   Bankruptcy Bar Associa on, Southern District of Florida

                                                                     Na onal Associa on of Federal Equity Receivers
Forensic Accoun ng
Bankruptcy and Insolvency
Creditors Rights
Restructuring
Financial Transac ons Li ga on
Complex Commercial Li ga on
 Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 51 of 65
                                                                       EXHIBIT B
                                                                              Melissa Davis, CPA, CIRA, CFE
                                                                                                 mdavis@kapilamukamal.com



SPEAKING ENGAGEMENTS                                            PUBLICATIONS

American Bankruptcy Ins tute 2017 Annual Spring Mee ng—         “Fraud and Forensics: Piercing Through The Decep on In A
”Fraudulent Transfers—The Long Claw of The Law” - April         Commercial Fraud Case” – American Bankruptcy Ins tute –
2017                                                            (2015)

IWIRC 23rd Annual Fall Conference—”The Dissec on of a           “Ponzi Schemes: Fiduciaries May Be The Saving Grace”, ABI
Ponzi Scheme” - October 2016                                    Journal (2014)

Florida Ins tute of Cer fied Public Accountants – North         “A Health Care Fraud and Bankruptcy Primer”, Southern Dis-
Dade/South Broward Chapter – “Tracing Commingled Funds”         trict of Florida Bankruptcy Bar Associa on Journal (2014)
‐ July 2016
                                                                “Rising Tide in the Wake of Ponzi,” ABI Journal (2013)
                                         rd
Jacksonville Bankruptcy Bar Associa on 23 Annual Bankrupt-
cy Seminar – “E‐Discovery in Bankruptcy: Why Should You
Care?” - August 2015                                            ACCOMPLISHMENTS

American Bankruptcy Ins tute 2015 Southeast Bankruptcy          Top CPAs and Li ga on Support Professionals—South
                                                                Florida Legal Guide, 2015—2017
Workshop – “Time for Trial: Eviden ary Issues in Bankruptcy
Li ga on” ‐ July 2015

Central Florida Bankruptcy Law Associa on – “What Do Boy        CIVIC, VOLUNTEER AND PHILANTHROPIC
Bands and Healthcare Have in Common”, -July 2014
                                                                Past and Present
Florida Bar Business Law Sec on – “Professional Fiduciaries:    American Bankruptcy Ins tute—
Responsibili es and Du es” - May 2014                              Advisory Board—ABI Southeast Regional Conference
                                                                     (2017-2018)
Tampa Bay Bankruptcy Bar Associa on – “What Do Boy                 Advisory Board—ABI Caribbean Insolvency
Bands and Healthcare have in Common” - March 2014                    Symposium (2016-2018)
                                                                   ABI Commercial Fraud Commi ee (2016-2018)
Bankruptcy Bar Associa on of the Southern District of Florida
– "Valua on Issues in Bankruptcy" - May 2013                    Credit Abuse Resistance Educa on (C.A.R.E.) Volunteer
                                                                The Kapila Family Founda on ‐ Execu ve Coordinator of the
American Bankruptcy Ins tute Southeast Regional Confer-         Kapila Family Founda on Endowment Fund for the Broward
ence – “Ponzi Schemes and Barring Claims Against the            Center of the Performing Arts
Guilty” - July 2012
                                                                Summit Questa Montessori School—PTO Board Member
                                                                2013-17
Turnaround Management Associa on – "Current Issues in
Real Estate" - April 2012                                       Leukemia & Lymphoma Society—Team in Training Par ci-
                                                                pant and Volunteer 2012-2014

                                                                Women in Distress of Broward County —Annual Back to
                                                                School and Thanksgiving Drives 2011-2017



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Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 52 of 65


                                                                                                       EXHIBIT C


                                              SONEET R. KAPILA
              Experience in Matters Involving PONZI / FRAUD including SEC and FTC Matters

                Case Name                     Industry / Type              Role                       Description


                                                       SEC Matters
 SEC v. Christopher Freeman Brogdon        Securities Fraud      SEC Corporate Monitor     Securities Fraud
 and Connie Brogdon, Tygh Brogdon,
 Brogdon Family, LLC, Gordon Jensen
 Healthcare Association, Inc., JRT Group
 Properties, LLC, Mobama Nursing, LLC,
 National Assistance Bureau, Inc., Saint
 Simons Healthcare, LLC and Winter
 Haven Homes, Inc.


 SEC v. Dennis Crowley, Spear &            Hedge Funds           Corporate Monitor (SEC    Securities Fraud
 Jackson, et al                                                  Appointment)
                                                                 Forensic Experts


 SEC v. Amante Corporation, et al          Securities Fraud      SEC Receiver              Receiver

 SEC v. North American Clearing Inc. v.    Broker Dealer         Corporate Monitor, SEC    Securities fraud - broker-dealer
 Richard Goble                                                   Retentions, Hedge Funds



 SEC v. Tel-One, Inc., et al               Pump & Dump           Claims Administrator /    Pump and Dump Scheme -
                                                                 Disbursing Agent - SEC    Securities Fraud
                                                                 Appointment


 SEC v. A.B. Financing and Investment,     Financing             Forensic Consultants and Quantification of investors
 Inc.                                                            Expert Witness for the   losses
                                                                 SEC

 SEC v. IDT Group, Inc.                    Securities Fraud      Forensic Accountants      Securities Fraud



 SEC v. Aubrey Lee Price; PFG, LLC;        Securities Fraud      Forensic Accountants to   Securities Fraud
 PFGBI, LLC; Montgomery Asset                                    the SEC Receiver
 Management, LLC f/k/a PFG Asset
 Management, LLC
 SEC v. Comcoa, Ltd.                       Wireless              Forensic Accountants to   Fraud - wireless
                                           communications        the SEC Receiver          telecommunications




 SEC v. Commodities OnLine, LLC            Securities Fraud      Forensic Accountants to   Securities Fraud
                                                                 the SEC Receiver


 SEC v. Creative Capital Consortium,       Securities Fraud      Forensic Accountants to   Securities Fraud - Haitian-
 LLC, et al                                                      the SEC Receiver          American Community
                                                                                           Investment Clubs

 SEC v. Edward S. Digges, Jr., Nexstar     Securities Fraud      Expert Witness and        Securities Fraud
 Communications, LLC, TMT Equipment                              Forensic Accountants to
 Company, LLC, TMT Management                                    the SEC Receiver
 Group,LC, et al




                                                                                                                              Page 1 of 3
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 53 of 65



                                                                                                            EXHIBIT C


                                                SONEET R. KAPILA
              Experience in Matters Involving PONZI / FRAUD including SEC and FTC Matters

                Case Name                       Industry / Type                 Role                      Description
 SEC v. Financial Federated Title & Trust, Viatical Insurance         Forensic Accountants to    Ponzi Scheme / viatical
 Inc. a/k/a Assets Security Corp., a/k/a   Settlements                the SEC Receiver           insurance settlements -
 Viatical Asset Recovery Corp, a/k/a Quad                                                        Assisted Trustee in
                                                                                                 adjudication of over 3,000
 B Ltd., a/k/a American Benefits Services,
                                                                                                 claims; multiple distributions
 Inc. - Various adversaries                                                                      over a period of years to a
                                                                                                 creditor body in three related
                                                                                                 cases totaling 20,000+
                                                                                                 distribution checks

 SEC v. International Capital                Securities Fraud; Foreign Forensic Accountants to   Ponzi Scheme - Funds Tracing /
 Management, Inc.. Jose Santiago / MBA       Exchange Currency         the SEC Receiver          co-mingling




 SEC v. JCS Enterprises, Inc., d/b/a JCS ATM Machines                 Forensic Accountants to    Ponzi Scheme
 Enterprises, Services, Ind., T.B.T.I.,                               the SEC Receiver
 Joseph Signore and Paul L. Schumack, II



 SEC v. Joseph Hilton, f/k/a Joseph       Oil Drilling Projects       Forensic Accountants to    Ponzi scheme selling
 Yurkin, Pacific Northwestern Energy,                                 the SEC Receiver           unregistered securities in
 LLC, Rock Castle Drilling Fund, LP, Rock                                                        companies purportedly
                                                                                                 generating profits from oil
 Castle Drilling Fund II LP and New
                                                                                                 drilling projects in Kentucky
 Horizon Publishing, Inc.



 SEC v. Mark David Shiner, Leon              Telecommunications       Forensic Accountants to Ponzi Scheme -
 Switchkow, Timothy Wetherald and                                     the SEC Receiver - Expert Telecommunications
 Telecom Advisory Services, Inc., et al -                             Witness
 Mile High Telecom

 SEC v. Medco, Inc., Mark R. Blacher,        Medical Equipment        Forensic Accountants to    Medical equipment Ponzi
 Defendants & The Hi Lily Company &                                   the SEC Receiver           Scheme
 National Health Services, Inc., Relief
 Defendants



 SEC v. Transamerica Wireless Systems, Telecommunications             Forensic Accountants to     Ponzi Scheme - wireless
 Inc. and Intercontinental                                            SEC Receiver               telecommunications
 Telecommunications Co. and Danny
 Sterk


 SEC v. WorldCorp FX & Company, Inc.         International Currency   Forensic Accountants to    Ponzi / Fraud involving trading
                                                                      SEC Receiver               of international currencies




                                                                                                                                   Page 2 of 3
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 54 of 65



                                                                                                         EXHIBIT C


                                               SONEET R. KAPILA
             Experience in Matters Involving PONZI / FRAUD including SEC and FTC Matters

                Case Name                      Industry / Type                Role                      Description


                                                      FTC Matters

 FTC v. American Precious Metals, LLC       Precious Metals         Accountants to the FTC     Ponzi Scheme
                                                                    Receiver


 FTC v. Nationwide Connections, Inc.,       Telecommunications      Forensic Accounts to the   Accountants to FTC Receiver
 Access One Communications, Inc.,                                   FTC Receiver
 Network One Services, Inc., Willoughby
 Farr, et al

 FTC v. World Class Limousine               Limousine               Accountants to the FTC     Ponzi Scheme
                                                                    Receiver


 FTC vs. Fereidoun "Fred" Khalilian and     Extended car warranties Forensic Accountants to    Ponzi scheme
 The Dolce Group Worldwide, LLC                                     the FTC Receiver


 FTC vs. Timeshare Mega Media and           Condo timeshares        Forensic Accountants to    Ponzi scheme investigation
 Marketing Group, Inc., et al                                       the FTC Receiver



                                            Other Ponzi/Fraud Matters

 Associated Record Distributors             Records                 Forensic Accountants to    Ponzi scheme
                                                                    the SEC Receiver

 ATM Financial Services, LLC                ATM Machines            Forensic Accountants       Ponzi - ATM machines

 Lancer Offshore Receivership; Lancer       Hedge Funds             Accountants to Receiver    Hedge Fund
 Management Group, LLC; Lancer
 Management Group II, LLC and Michael
 Lauer
 Louis J. Pearlman / TransContinental       Securities Fraud        Chapter 11 Trustee         Classic Ponzi Scheme of
 Airlines                                                                                      approximately $500 million; 100
                                                                                               related entities and over 1,400
                                                                                               victims

 Razorback Funding, LLC et al v. Scott      Hedge Funds             Litigation Consultants and Hedge Funds/ Banks
 Rothstein, et al                                                   Forensic Experts; Expert
                                                                    Witness

 State of Texas v. Edward S. Digges, Jr.    Securities Fraud        Expert Witness             Securities Fraud

 U.S. Commodity Futures Trading             Securities Fraud        Forensic Accountants       Securities Fraud
 Commission v. Hunter Wise
 Commodities, Inc., Inspired Ventures,
 Inc., Jesse Alper and Victor Alper

 Wealth Pools International, Inc., Robert   Securities Fraud        Forensic Accountants -     Ponzi-Securities Fraud
 E. Lane, and Recruit for Wealth, et al                             Expert Witness




                                                                                                                                 Page 3 of 3
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 55 of 65
                                                                                                                                             Exhibit D

                                                                      Woodbridge Entities

                                                                    Bank Record Inventory

Source: Bank Records and Underlying support


                                                                                                                                  Beginning
                            Entity                      Bank                Type            Signer on the Account    Account #              Ending Date
                                                                                                                                    Date
Accounts Reconstructed:
 Woodbridge Commercial Bridge Loan Fund 1 LLC       Comerica Bank Business Checking         Robert Shapiro          XXXXXXX8333   09/21/15    09/30/17
 Woodbridge Commercial Bridge Loan Fund 2 LLC       Comerica Bank Business Checking         Robert Shapiro          XXXXXXX1498   12/08/16    09/30/17
 Woodbridge Group of Companies LLC
                                                    Comerica Bank Business Checking         Robert Shapiro          XXXXXXX8192   11/25/15    09/30/17
 Operating Account
 Woodbridge Group of Companies LLC
                                                    Comerica Bank Business Checking         Robert Shapiro          XXXXXXX8200   11/25/15    09/30/17
 Special Holding
 Woodbridge Mortgage Investment Fund 1 LLC          Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX0647   07/11/12    09/30/17
 Woodbridge Mortgage Investment Fund 2 LLC          Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX3483   12/30/13    09/30/17
 Woodbridge Mortgage Investment Fund 3 LLC          Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX2992   10/10/14    09/30/17
 Woodbridge Mortgage Investment Fund 3a LLC         Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX7897   11/02/15    09/30/17
 Woodbridge Mortgage Investment Fund 4 LLC          Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX2703   06/26/15    09/30/17
 Woodbridge Structured Funding LLC                  Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX7690   01/01/10    03/24/16
 Woodbridge Structured Funding LLC                  Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX2482   01/01/10    04/11/16

Other Accounts Considered
 Woodbridge Capital Investments LLC                 Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX9476   01/01/10    06/30/16
 Woodbridge Crowdfunding 1 LLC                      Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX8358   07/27/15    09/30/17
 Woodbridge Lending Fund 1 LLC                      Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX8317   09/30/15    09/30/17
 Woodbridge Luxury Homes of California Inc.         Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX3297   11/20/14    09/30/17
 Woodbridge Luxury Homes of California Inc.
                                                    Comerica Bank Business Money Market Robert Shapiro              XXXXXXX2653   06/17/15    09/30/17
 DBA Mercer Wine
 Woodbridge Luxury Homes of California Inc.                                                 Robert Shapiro and
                                                    Comerica Bank Business Checking                                 XXXXXXX2661   06/17/15    09/30/17
 DBA Mercer Wine                                                                            Adam Jason Rosenfeld
 Woodbridge Pre-Settlement Funding 2 LLC            Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX0761   02/21/13    09/30/17
 Woodbridge Pre-Settlement Funding LLC              Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX9598   05/05/11    09/30/17
 Woodbridge Pre-Settlement Funding LLC              Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX0821   11/08/11    09/30/17
 Woodbridge Pre-Settlement Funding LLC              Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX9580   04/05/11    04/13/11
 Woodbridge Realty of Colorado LLC                  Comerica Bank   Business Checking       Robert Shapiro          XXXXXXX2984   10/16/14    09/30/17
 Woodbridge Structured Funding LLC
                                                    Comerica Bank Business Checking         Robert Shapiro          XXXXXXX0472   09/07/12    03/23/16
 Special Investor Holding
 Woodbridge Structured Settlement Investments LLC   Comerica Bank Commercial Checking       Robert Shapiro          XXXXXXX9062   01/01/10    09/30/17



                                                    See accompanying Declaration dated December 18, 2017




                                                                                                                                                   Page 1 of 1.......
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 56 of 65
                                                                                                              Exhibit D.1

                                                   Woodbridge Entities

                                       Credit Card Statement Record Inventory

 Source: Credit Card Statements


                                                                                                   Beginning
                          Entity               Bank              Type              Account #                 Ending Date
                                                                                                     Date
 Credit Cards Reconstructed:
  Chase Hyatt - Jeri S Shapiro               JP Morgan        Credit Card    XXXX-XXXX-XXXX-8260   12/05/11    07/04/13
  Chase Hyatt - Jeri S Shapiro               JP Morgan        Credit Card    XXXX-XXXX-XXXX-7053   11/05/13    02/04/17
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-3902   12/19/11    02/18/14
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-8308   02/19/14    01/18/15
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-8221   01/19/15    11/18/15
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-2292   10/19/15    03/18/16
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-4855   11/19/15    02/18/17
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-2092   02/19/17    03/18/17
  Chase Sapphire - Jeri S Shapiro            JP Morgan        Credit Card    XXXX-XXXX-XXXX-2059   03/19/17    06/18/17
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-9684   03/19/12    10/18/12
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-5969   10/19/12    08/18/13
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-4660   08/19/13    03/18/14
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-0348   03/19/14    12/18/14
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-2366   03/19/16    06/16/16
  Chase United - Jeri S Shapiro              JP Morgan        Credit Card    XXXX-XXXX-XXXX-4159   06/19/16    05/18/17
  CitiBank - Jeri Shapiro                     CitiBank        Credit Card           0481           07/19/12    05/17/17




                                    See accompanying Declaration dated December 18, 2017




                                                                                                                          Page 1 of 1.......
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 57 of 65
                                                                          Exhibit E

                                  Woodbridge Entities

                            QuickBooks Files Provided

 Source: QuickBooks

                       Entity                           Beginning Date   Ending Date
 Woodbridge Structured Funding LLC                         04/01/11       04/11/17
 Woodbridge Mortgage Investment Fund 1 LLC                 07/03/12       04/28/17
 Woodbridge Mortgage Investment Fund 2 LLC                 01/07/14       04/28/17
 Woodbridge Mortgage Investment Fund 3 LLC                 10/10/14       04/28/17
 Woodbridge Group of Companies LLC                         06/01/15       04/21/17
 Woodbridge Mortgage Investment Fund 4 LLC                 07/15/15       04/28/17
 Woodbridge Commercial Bridge Loan Fund 1 LLC              09/21/15       04/28/17
 Woodbridge Mortgage Investment Fund 3a LLC                12/01/15       04/28/17
 Woodbridge Commercial Bridge Loan Fund 2 LLC              12/29/16       04/13/17


                 See accompanying Declaration dated December 18, 2017




                                                                                      Page 1 of 1.......
 Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 PageExhibit
                                                                             58 ofF 65
                                                                Woodbridge Entities

                                    Consolidated Summary of the Bank Reconstruction (Note 1)
           Woodbridge Mortgage Funds 1, 2, 3, 3a, 4, Bridge Loan 1, Bridge Loan 2, Structured Funding and Group of Companies
                                                    July 11, 2012 - September 30, 2017

Source: Bank Reconstruction; QuickBooks files

                          Category                                  Reference             Inflows             Outflows             Net
Net Investor Activity (Principal)
 Investor - FPCM                                                                    $       937,597,083   $    259,124,550    $   678,472,533
 Investor - Fund                                                                            161,353,585          6,230,415        155,123,170
 Investor - Type Unknown                                                                    127,996,565            137,000        127,859,565
Total WMIF Investors                                                     A                1,226,947,233        265,491,965        961,455,268
 Investor - Structured Funding                                                              79,565,367          72,454,136          7,111,231
 Investor - Held in Escrow                                                                  46,971,607          36,614,913         10,356,694
 Investor - Group of Companies                                                              23,216,500          29,845,438         (6,628,938)
 Investor - Bridge Loans                                                                     1,900,147           1,142,508            757,639
Total Other Investors                                                    B                 151,653,621         140,056,995         11,596,626
Total Investor Activity                                             C=A+B                 1,378,600,854        405,548,960        973,051,894
Net Mortgage Lending/Investment Activity (Principal)
 Mortgage Lending                                                                          112,330,391          62,120,367          50,210,024
 Other - Return of Investment                                                               24,298,115                 -            24,298,115
 Other Investments                                                                          35,312,719         784,461,100        (749,148,380)
Total                                                                    D                 171,941,225         846,581,467        (674,640,242)
Potential Investor Liability in excess of Mortgage
                                                                    E=C+D                                                         298,411,652
Lending/Investments Outstanding
Income
  Company Income (Structured Settlement Business)                                            30,934,250                  -         30,934,250
  Income - Mortgage Interest Payments                                                        13,680,268                  -         13,680,268
  Commission Income                                                                           2,333,529                  -          2,333,529
  Other Income Earned                                                                           582,754                  -            582,754
  Gain/Loss on Investments                                                                      379,126                               379,126
Total Income                                                             F                   47,909,927                  -         47,909,927
Expenses
 WMIF Investor - Returns                                                                             -         103,215,844        (103,215,844)
 Commissions to Sales Agents                                                                         -          64,596,323         (64,596,323)
 Other Operating Expenses                                                                            -          44,147,485         (44,147,485)
 Payroll                                                                                             -          42,963,430         (42,963,430)
 Professional fees                                                                                   -          16,572,369         (16,572,369)
 Other Investor - Interest Expense                                                                   -           3,631,972          (3,631,972)
Total Expenses                                                           G                           -         275,127,423        (275,127,423)
Net Income (Loss)                                                   H=F+G                                                         (227,217,496)
Other Cash Activity
 Intercompany                                                                               22,169,080          47,028,634         (24,859,554)
 Insider Activity (See Exhibit H)                                                           31,968,699          51,211,046         (19,242,347)
 Other                                                                                      15,428,285          29,037,494         (13,609,209)
 Client Funding                                                                             56,843,327          60,194,764          (3,351,437)
 Transfers on behalf of other funds                                                         10,028,477          12,357,994          (2,329,517)
Total Other Activity                                                     I                 136,437,868         199,829,932         (63,392,064)
Intracompany Activity                                                    J                1,662,377,781       1,662,377,781                -
Net Cumulative Cash Flow Activity                                K=E+H+I+J                3,397,267,655       3,389,465,563          7,802,092

Beginning Balance as of July 11, 2012                                                                                                1,719,417
Ending Cash Balance as of September 30, 2017                                                                                  $      9,521,509


Note 1) See Exhibit F.2 in the accompanying report for a description of the categories in this Exhibit.


                                                See accompanying Declaration dated December 18, 2017




                                                                                                                                         Page 1 of 1.......
                                                     Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 59 of 65                                                                                                                        Exhibit F.1

                                                                                                                          Woodbridge Entities

                                                                                                                  Summary of Bank Reconstructions
                                                                                                                   Consolidated Category Summary
                                                                                                                       07/11/2012 - 09/30/2017

Source: Bank Reconstruction and QuickBooks

                                                   07/11/2012 -        07/11/2012 -            12/30/2013 -           10/10/2014 -            06/26/2015 -           9/20/2015 -           11/02/2015 -           11/25/2015 -            12/08/2016 -
                                                    04/06/2016          09/30/2017              09/30/2017             09/30/2017              09/30/2017            09/30/2017             09/30/2017             09/30/2017              09/30/2017
                     Category                      Structured            WMIF 1                  WMIF 2                 WMIF 3                  WMIF 4                Bridge 1               WMIF 3a                 Group                  Bridge 2               Total
Inflows:
WMIF Investors:
  Investor - FPCM                              $         4,290,934 $        85,850,185     $       140,075,674    $       325,096,443     $       111,258,929    $                 -   $       269,705,650    $         1,319,268     $                  -   $      937,597,083
  Investor - Fund                                           469,153          9,337,500              22,506,789             44,683,952              23,344,852                      -            61,011,339                      -                        -          161,353,585
  Investor - Type Unknown                                        -           4,172,382               3,008,841             18,460,042              71,382,717                      -            30,972,583                      -                        -          127,996,565
Total WMIF Investor Inflows                              4,760,087          99,360,067             165,591,304            388,240,437             205,986,498                      -           361,689,572              1,319,268                        -        1,226,947,233

Other Investors
 Investor - Structured Funding                          23,215,500          41,023,500              12,815,367              2,511,000                        -                     -                      -                     -                       -            79,565,367
 Investor - Held in Escrow                              42,577,205             218,525                       -                      -                        -                     -                      -             4,175,877                       -            46,971,607
 Investor - Group of Companies                              980,000         19,335,000                       -                      -                        -                     -                      -             2,901,500                       -            23,216,500
 Investor - Bridge Loans                                         -                   -                       -                      -                        -             1,695,747                      -                     -                 204,400             1,900,147
Total Other Investor Inflows                            66,772,705          60,577,025              12,815,367              2,511,000                        -             1,695,747                      -             7,077,377                 204,400           151,653,621

Mortgage/Real Estate/Other Investments:
 Mortgage Lending Principal                              7,177,847          40,688,012              25,153,812             35,060,975                  658,669                     -             3,428,975                 162,101                                  112,330,391
 Other Investments                                       7,055,289            4,042,729                      -              3,500,000                        -                                           -             20,714,701                                    35,312,719
 Other Return of Investment                                      -            3,147,342              4,830,778                 320,016              6,259,283                                    9,740,696                                                           24,298,115
 Mortgage Interest Income                                    91,288           6,827,370              4,096,555              2,352,082                       -                      -                318,498                 (5,525)                                  13,680,268
 Other Investment Income Earned                               1,800              615,965                 10,647                (77,500)                      -                     -                      -                31,842                                        582,754
 Gain/Loss on Investments                                   532,009          (1,414,175)                391,989                629,303                                                                                    240,000                                        379,126
Total Inflows from Investing Activity                   14,858,233          53,907,243              34,483,781             41,784,876               6,917,952                      -            13,488,169             21,143,119                        -          186,583,373

Other Income
 Company Income                                         31,041,762              94,980                        -                      -                       -                     -                      -              (202,492)                                   30,934,250
 Commission Income                                       2,268,579              64,950                        -                      -                                                                    -                     -                                     2,333,529
Total Other Income                                      33,310,341             159,930                        -                      -                       -                     -                      -              (202,492)                       -           33,267,779

Client Funding Inflows                                  56,577,311                   -                       -                       -                      -                      -                     -                266,016                                    56,843,327
Insiders (See Exhibit H)                                13,072,915              500,000                 952,158                289,000                      -                     -                 500,000            16,654,626                                    31,968,699
Intercompany Transfers in                               16,980,938              410,000                      -                 550,000                      -                     -                      -              4,228,142                        -           22,169,080
Other Inflows                                               624,800             249,486                 396,679             1,954,533               5,119,241                     -              6,325,136                 758,410                                   15,428,285
Transfers received on behalf of another fund             3,830,945           3,456,561               2,531,965                 (86,263)                     -                    100                 56,960               238,209                                    10,028,477
Total Inflows                                          210,788,275         218,620,312             216,771,254            435,243,583             218,023,691             1,695,847            382,059,837             51,482,675                 204,400         1,734,889,874

Outflows:
WMIF Investors:
 Investor - FPCM Repayment                               1,900,000          37,581,397              57,267,824            107,470,902               7,208,732                      -            47,695,695                       -                       -          259,124,550
 Investor - Fund Repayment                                       -              465,000                 747,183                802,000                  69,139                     -             4,147,093                       -                       -            6,230,415
 Investor - Type Unknown                                         -                   -                        -                     -                   89,000                                       48,000                                                              137,000
Total WMIF Principal Repayment                           1,900,000          38,046,397              58,015,007            108,272,902               7,366,871                      -            51,890,788                       -                       -          265,491,965

 Investor - FPCM Interest Expense                           40,556           6,171,427               9,293,121             20,105,527                 922,324                                   11,013,451                                                           47,546,406
 Investor - Unknown Returns                              1,510,576           1,188,846               5,273,146             13,984,092               3,714,567                      -            11,744,662                       -                       -           37,415,889
 Investor - Fund Dividend Expense                           10,000           3,028,380               4,989,106              6,127,785                  520,398                                   3,577,880                                                           18,253,549
Total WMIF Returns                                       1,561,132          10,388,653              19,555,373             40,217,404               5,157,289                      -            26,335,993                       -                       -          103,215,844

Total WMIF Investor Outflows                             3,461,132          48,435,050              77,570,380            148,490,306              12,524,160                      -            78,226,781                       -                       -          368,707,809


                                                                                                                               Page 1 of 2
                                                           Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 60 of 65                                                                                                                    Exhibit F.1

                                                                                                                               Woodbridge Entities

                                                                                                                       Summary of Bank Reconstructions
                                                                                                                        Consolidated Category Summary
                                                                                                                            07/11/2012 - 09/30/2017

Source: Bank Reconstruction and QuickBooks

                                                         07/11/2012 -        07/11/2012 -           12/30/2013 -           10/10/2014 -           06/26/2015 -           9/20/2015 -            11/02/2015 -           11/25/2015 -           12/08/2016 -
                                                          04/06/2016          09/30/2017             09/30/2017             09/30/2017             09/30/2017            09/30/2017              09/30/2017             09/30/2017             09/30/2017
                     Category                            Structured            WMIF 1                 WMIF 2                 WMIF 3                 WMIF 4                Bridge 1                WMIF 3a                 Group                 Bridge 2             Total
Other Investors
 Investor - Structured Funding Repayments                     72,454,136                   -                       -                      -                      -                      -                      -                     -                                 72,454,136
 Investor - Held in Escrow Repayments                         35,409,102                   -                       -                      -                      -                      -                      -             1,205,811                                 36,614,913
 Investor - Group of Companies Repayments                              -                    -                      -                      -                      -                     -                       -            29,845,438                                 29,845,438
 Investor - Bridge Loans Repayments                                    -                    -                      -                      -                      -             1,044,508                       -                     -                 98,000           1,142,508
 Other Investors - Interest Expense                            2,263,048                9,500                      -                      -                      -                 93,291                      -             1,262,131                  4,002           3,631,972
Total Other Investor Outflows                                110,126,286                9,500                      -                      -                      -             1,137,799                       -            32,313,380                102,002         143,688,967

Mortgage/Real Estate/Other Investments:
 Other Investments                                           294,068,866                   -                       -                     -                       -                     -                       -           490,392,235                                784,461,101
 Mortgage Principal                                           50,292,367             973,000                       -            10,855,000                       -                     -                       -                     -                                 62,120,367
Total Mortgage/Real Estate/Other Investments:                344,361,233             973,000                       -            10,855,000                       -                     -                       -           490,392,235                        -       846,581,468

Other Expenses                                                63,857,858               84,276                 44,358                 89,190                 25,695                    801                 69,698            39,511,240                       168      103,683,284
Commission to Sales Agents                                    27,039,040                   -                       -                     -                       -                      -                      -            37,557,283                                 64,596,323
Client Funding Outflows                                       57,018,663                   -                       -                      -                      -                      -                     -              3,176,101                                 60,194,764
Payments to/for the benefit of Insiders (See Ex H)            29,188,090              138,389                221,722                  5,000                      -                      -                      -            21,657,845                                 51,211,046
Intercompany Transfers Out                                    36,748,232              544,000             1,020,000              1,075,000                       -                      -                      -             7,641,402                       -         47,028,634
Other Outflows                                                 3,715,641              476,933                919,094             3,561,676              2,473,807                  24,460             6,147,512             11,715,289                   3,082         29,037,494
Amounts paid on behalf of another fund                        10,624,670             434,933                 663,935                105,555                      -                      -                  1,770                527,131                                12,357,994
Total Outflows                                               686,140,845          51,096,081             80,439,489            164,181,727             15,023,662              1,163,060             84,445,761            644,491,906                105,252       1,727,087,783
                                                                                                                                                                                                                                                                                -
Net Activity                                                (475,352,570)        167,524,231            136,331,765            271,061,856            203,000,029                532,787            297,614,076           (593,009,231)                 99,148          7,802,091

Intracompany Inflows                                         674,916,707          31,276,441             49,588,638             86,330,067              8,802,789             4,742,050              49,469,172            757,153,917                 98,000       1,662,377,781
Intracompany Outflows                                        201,283,552         198,355,327            185,457,528            356,414,350            208,685,000             5,117,000             344,944,450            161,930,574                190,000       1,662,377,781
Net Intracompany Activity                                    473,633,155        (167,078,886)          (135,868,890)          (270,084,283)          (199,882,211)             (374,950)           (295,475,278)           595,223,343                (92,000)                  (0)

Beginning Balance as of July 11, 2012                          1,719,417                   -                      -                      -                      -                     -                       -                      -                       -          1,719,417
Ending Cash Balance as of September 30, 2017         $                 2 $           445,345    $           462,875    $           977,573    $         3,117,818    $          157,837     $         2,138,798    $         2,214,112    $              7,148 $        9,521,508



                                                                                                            See accompanying Declaration dated December 18, 2017




                                                                                                                                    Page 2 of 2
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 61 of 65
                                                                                                                         Exhibit F.2

                                                            Woodbridge Entities

                                                  Bank Reconstruction Categories

   Source: Bank Records and Underlying support



                Inflows                                                          Description
   WMIF Investors                         Funds received for investments by the Woodbridge Fund Entities from FPCM Investors, Fund
                                          Investors and Unknown Investors. Investors – Type Unknown include those investors in
                                          which KM was unable to determine if their investment was for specific properties (indicative
                                          of FPCM investors) or for fund Units (indicative of Fund investors).

   Other Investors                        Funds received for investments other than the Woodbridge Fund Entities. This includes
                                          Bridge 1 and Bridge 2 investors, and investors who invested directly into Structured and
                                          Group.

   Mortgage/Real Estate/Other             Receipts from various mortgage and real estate investing activity. See below for more details:
   Investments:
     Mortgage Lending Principal             Principal payments received from mortgage borrowers.

     Mortgage Interest Income               Monthly interest payments received from mortgage borrowers.

     Gain/Loss On Investments               Monies received in excess or less than the mortgage principal loaned or investment made.

     Other Investments                      Monies received from liquidation of real estate owned or other investments. KM determined
                                            based on how the items were reported in QuickBooks.

     Other Investment Income                Monies received for rental income or amounts coded in QuickBooks as income including
     Earned                                 funds sent to investors for profit sharing.
     Other Return Of Investment             Funds received that are a return of principal, but KM is unable to determine what portion is
                                            principal, gain/loss, or closing fees.

   Other Income                           Funds received which were categorized in QuickBooks as “company income” or “commission
                                          income”. Based on KM’s analysis of the general ledger and the nature of the transactions,
                                          “company income” was related to Structured’s settlement investing business that was active
                                          prior to the Woodbridge Fund Entities being formed and “commission income” was earned by
                                          Structured for referring mortgage investments to the WMIF's.

   Insiders                               Funds received from Shapiro or individuals or entities associated with Shapiro.

   Transfers Received On Behalf           Funds categorized in QuickBooks as an intercompany account.
   Of Another Fund

   Client Funding Inflows                 Funds categorized in QuickBooks to the Client Funding account. Based on KM’s analysis of
                                          the general ledger and the nature of the transactions, “client funding” was related to
                                          Structured’s settlement investing business that was active prior to the Woodbridge Fund
                                          Entities.

   Other Inflows                          Miscellaneous transactions that are not related to investors or mortgage investing including
                                          items requiring further investigation.

   Intercompany And                       Funds received from other Woodbridge Entities that are not included in the Bank
   Intracompany Transfers In              Reconstruction.




                                                                                                                                           Page 1 of 2.......
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 62 of 65
                                                                                                                          Exhibit F.2

                                                            Woodbridge Entities

                                                  Bank Reconstruction Categories

   Source: Bank Records and Underlying support



               Outflows                                                          Description
   WMIF Investors                         Funds paid to investors in the Woodbridge Fund Entities for Returns and principal repayment
                                          The category is broken down into FPCM Investors, Fund Investors and Unknown Investors.


   Other Investors                        Funds paid to investors other than the Woodbridge Fund Entity investors. This includes
                                          Bridge 1 and Bridge 2 investors, and investors who invested directly into Structured and
                                          Group.


   Mortgage/Real Estate/Other             Includes funds loaned to borrowers for mortgage investments and funds paid for other
   Investments                            investments which include investments not categorized as mortgages in QuickBooks and
                                          capitalized construction costs.

   Commission Expense                     Funds paid to sales agents for commissions earned by referring investors to Woodbridge
                                          Entities.

   Other Expenses                         Funds for various expenses including payroll, professional fees, and business expenses
                                          including marketing, advertising, postage & delivery, office supplies, and rent.

   Payments To/For The Benefit Of Funds paid to Shapiro or individuals or entities associated with Shapiro.
   Insiders

   Amounts Paid On Behalf Of              Funds categorized in QuickBooks to the intercompany account.
   Another Fund

   Client Funding Outflows                Funds categorized in QuickBooks to the Client Funding account. Based on KM’s analysis of
                                          the general ledger and the nature of the transactions, “client funding outflows” was related to
                                          Structured’s settlement investing business that was active prior to the Woodbridge Fund
                                          Entities.

   Other Outflows                         Miscellaneous transactions that are not related to investors or mortgage investing including
                                          items in the bank reconstruction requiring further investigation.

   Intercompany Transfers Out             Funds sent to other Woodbridge Entities.




                                        See accompanying Declaration dated December 18, 2017




                                                                                                                                         Page 2 of 2.......
                                                             Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 63 of 65
                                                                                                                                                                                                                                                                                                           Exhibit G

                                                                                                                                              Woodbridge Entities

                                                                                                                                  Summary of Credit Card Net Activity
                                                                                                                                        06/01/2012 - 06/18/17
                                                                                                                                      Summarized by Category

Source: Credit Card Reconstructions

                                                                                                                                                   Credit Card Accounts - Net Activity
                                          11/05/13 -   01/19/15 -     11/19/15 -     02/19/17 -    03/19/17 -        10/19/15 -       03/19/16 -     06/19/16 -    06/01/12 -    10/19/12 -            08/19/13 -       03/19/14 -        06/01/12 -     02/19/14 -     06/01/12 -        07/19/12 -
                                           02/04/17     11/18/15       2/18/17        03/18/17      06/18/17          03/18/16         06/18/16       05/18/17      10/18/12      08/18/13              03/18/14         12/18/14          02/18/14       01/18/15       07/04/13          05/17/17
                Category                  Chase 7053 Chase 8221 Chase 4855 Chase 2092 Chase 2059 Chase 2292                       Chase 2366        Chase 4159      Chase 9684     Chase 5969      Chase 4660       Chase 0348        Chase 3902         Chase 8308 Chase 8260            Citi 0481          Total
Business Expense                          $      -     $    44,732    $    15,052    $      177    $      -      $      830,092   $      356,841    $    768,402    $ 1,004,771    $ 2,908,251     $ 1,106,387      $     1,551,623   $       75,449     $       -      $      -      $ 3,370,724      $     12,032,501
Retail - Furniture, Décor & Home                 -          86,936         87,062         1,408         7,715            89,954           38,556         620,377         84,690        164,558          99,699              135,333          103,619          72,612           -            8,096             1,600,615
Travel                                           -          59,515         19,700           -             202           242,954           86,163         346,814         88,919        190,973         174,056              199,446          124,616          48,902         2,304          6,959             1,591,523
Retail - Luxury                                  -         103,484        155,966        19,755        19,816            87,954            5,573          46,107         24,974         30,445         109,810              126,344          127,086          71,747           -          442,457             1,371,518
US Treasury Payment                              -             -              -             -             -             300,392              -           160,000        135,000         55,000         195,169              342,278              -               -             -              -               1,187,839
Other/FIR                                        -           4,613         20,319           715         2,199            75,157          103,109         329,075         28,893         92,135          31,797               91,236           20,482           8,930           -              -                 808,660
Meals & Entertainment                            -          66,795         75,142         4,677        20,159            93,646           25,286          97,763         24,020         29,155          30,673               40,205          114,107          74,366           -            1,149               697,143
Political Contribution                           -             800            -             -             -             176,900          166,065         182,698          5,500            -               -                 28,450                81          1,044           -           25,000               586,538
Taxes, Fees & Dues                               -             -              855           -             938            31,337          122,892          72,666          5,129         22,920          73,553              195,263              -               -             -              -                 525,553
Retail - Clothing, Beauty & Accessories          -          85,752        103,082         6,137        14,420            21,854              216          28,304          4,878         13,705           2,914                5,803          132,890          91,891           -            3,080               514,926
Retail - Other                                   -           4,452          6,195           196           303            41,527           29,801         175,022          9,734         58,308          41,997               55,187           38,476           9,895           -              -                 471,093
Retail - Technology                              -             229          4,043           -             -              14,562           47,433         121,499         17,530        122,270          37,816               63,053              655             452           -              -                 429,542
Professional Fees                                -             -              -             -             -              66,732              -           202,500          4,256          2,436             195               13,637              -               -             -          115,482               405,238
Retail - Office Furniture & Supplies             -             145            -             -             -             181,482           12,768          66,049         19,941         39,175          19,485               41,093              115             -             -              -                 380,253
Retail - Department Store                        -          23,304         38,062           785         1,134            13,920            8,960          78,937         18,082         67,153          11,418               10,870           50,314          17,782           -              -                 340,721
Utilities/Telecommunications                     -               39           204             19            38           43,806           20,256          76,092         14,202         36,981          24,479               34,205              618             140           -              -                 251,079
Real Estate Related                              -             510            140           -             -              31,413           41,342          40,486          2,730         25,308          12,524               34,730              606             -             -              500               190,289
Storage/Moving/Courier Expense                   -             -            3,216           -             -              31,252           14,687          57,006          7,947         18,668          23,412               28,410            1,351              30           -              -                 185,979
Grocery/Pharmacy                                 -          12,479         20,828         2,238         5,153               595              214           8,021            883          2,631             180                   52           32,017          16,221           -              116               101,628
Medical                                          -           5,901         15,470           -           2,558             1,304            2,775          10,342            500          1,470           9,773                1,315           12,410           9,801           -            7,245                80,864
Auto                                             -           1,557            846            55           345             7,501            2,300           5,587          1,086         10,533           3,255               23,725            6,909           6,707           -                62               70,468
Insurance                                        -             -              -             -             -              18,396            2,121               95         2,338          7,745           5,858               15,904            1,865             -             -              -                  54,322
Bank & Service Fees                              300             85             85          -               85            7,032              446           4,295          3,173          1,806           6,229               11,484                85              85            75           792                36,057
Spa/Salon                                        -           2,975          6,897           155           853             1,525              -             2,987            -              -               -                    -              8,058           2,929           -                78               26,457
Returned Funds                                   -             -                 7          -             -                 -                -               -              -              150             -                      5              -               -             -              -                     162

Total Charges                                    300       504,303        573,171        36,317        75,918         2,411,287        1,087,804        3,501,124      1,509,176       3,901,776        2,020,679         3,049,651          851,809         433,534         2,379         3,981,740         23,940,968

Credit Card Payments                             300       509,302        567,616        38,404        76,423         2,375,390        1,122,305        3,513,199      1,526,084       3,890,033        2,021,764         3,043,775          848,339         432,511         2,379         3,981,740         23,949,565

Beginning Balance                                -           1,156         (3,843)        1,710          (377)            3,758           39,653           5,153         78,540          61,632            73,373            72,288            (3,334)           134           -                  -             329,843

Ending Balance                            $      -     $    (3,843) $       1,712    $     (377) $       (882) $         39,655   $        5,152    $      (6,922) $     61,632    $     73,375    $       72,288   $        78,164   $           136    $     1,157    $      -      $           -    $        321,247




                                                                                                                        See accompanying Declaration dated December 18, 2017
Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 64 of 65
                                                                                                                                       Exhibit G.1

                                                                 Woodbridge Entities

                                                   Credit Card Reconstruction Categories

Source: Bank Records and Underlying support


                   Category                                                                  Description
Auto                                              Charges for parking, auto repairs, payments to car companies and other automobile expenses
Bank & Service Fees                               Bank Fees and other service fees including service fees charged to make online payments
Business Expense                                  Charges for business related expenses which mainly includes marketing & advertising expenses
Grocery/Pharmacy                                  Charges at various grocery stores and pharmacies
Insurance                                         Insurance companies
Meals & Entertainment                             Charges for meals & entertainment, including event tickets, golf courses and tourist attractions
Medical                                           Charges for hospitals, doctors and vets
Other/FIR                                         Miscellaneous transactions including items that required further investigation required
Political Contribution                            Funds sent to various political campaigns or organizations
Professional Fees                                 Law Firms, Accounting Firms, etc.
Real Estate Related                               Charges for real estate related services, including locksmiths, home inspections, contractors, real
                                                  estate agents, etc.
Retail - Clothing, Beauty & Accessories           Purchases at retail stores that sell clothing, beauty items (make up, skin care, etc.) and accessories
                                                  (shoes, handbags, etc.)
Retail - Department Store                         Purchases at department stores including Amazon, Nordstrom, Target, etc.
Retail - Furniture, Décor & Home                  Purchases at retail stores that sell furniture, décor & other items for the home. These items could
                                                  be for personal or business
Retail – Luxury                                   Purchases at luxury retail stores including jewelry stores and high end designers (Louis Vuitton,
                                                  Chanel, Jimmy Choo, etc.)
Retail - Office Furniture & Supplies              Purchases at retail stores that sell office furniture and supplies
Retail – Other                                    Purchases at other retail stores that do not belong in the other retail categories including liquor
                                                  stores, vitamin stores, cigars, flower stores, etc.
Retail – Technology                               Purchases at retail stores that sell technology items (Best Buy, Apple, etc.)
Returned Funds                                    Charges for items that have been returned
Spa/Salon                                         Charges at Spas to Salons
Storage/Moving/Courier Expense                    Charges at storage locations, moving companies and shipping companies (FedEx, USPS, etc.)
Taxes, Fees & Dues                                Taxes (excluding those to the US Treasury), Fees paid to various courts for record searches, etc.
Travel                                            Charges for Airlines, Hotels, Limos, Taxis, Rental Cars, etc.
US Treasury Payment                               Payments to the United States Treasury
Utilities/Telecommunications                      Charges to utility companies and telecommunication companies including internet, telephones,
                                                  security systems, etc.



                                              See accompanying Declaration dated December 18, 2017




                                                                                                                                                     Page 1 of 1.......
                         Case 1:17-cv-24624-MGC Document 36-2 Entered on FLSD Docket 12/26/2017 Page 65 of 65
                                                                                                                                                                                                           Exhibit H

                                                                                               Woodbridge Entities

                                                                                      Summary of Net Payments to Insiders
                                                                                           07/11/2012 - 9/30/2017

Source: Bank Reconstruction and QuickBooks

                                                 07/11/2012 -       07/11/2012 -      12/30/2013 -      10/10/2014 -      11/02/2015 -      11/25/2015 -                            06/01/2012 -
                                                  04/06/2016         09/30/2017        09/30/2017        09/30/2017        09/30/2017        09/30/2017                              06/18/2017
                                                                                                                                                                Total Insider     Additional Credit       Total Insider
                   Insider                       Structured           WMIF 1            WMIF 2            WMIF 3           WMIF 3a            Group
                                                                                                                                                                 Payments          Card Charges            Payments
Receipts:
 Payments made on behalf of Robert Shapiro   $          56,000 $              -   $             -   $             -   $             -   $           4,486 $             60,486 $               -      $           60,486
 Moorpark Boca Funding, LLC                          3,975,000                -             640,000           250,000               -           4,225,000            9,090,000                 -               9,090,000
 Scott Schwartz / Up & Coming Capital LLC                  -                  -                 -                 -                 -                 -                    -                   -                     -
 Jeri Shapiro                                              -                  -                 -              39,000               -             340,140              379,140                 -                 379,140
 Payments made on behalf of 3X a Charm                   3,000                -                 -                 -                 -                 -                  3,000                 -                   3,000
 Schwartz Media Buying Company, LLC                  4,372,415            500,000           280,000                             500,000        11,590,000           17,242,415                 -              17,242,415
 3X A Charm                                                -                  -                 -                  -                -                 -                    -                   -                     -
 Joy Gravenhorst                                           -                  -                 -                  -                -                 -                    -                   -                     -
 Cash                                                      -                  -                 -                  -                -             250,000              250,000                 -                 250,000
 Riverdale Funding, LLC                              4,666,500                -              32,158                -                -             245,000            4,943,658                 -               4,943,658

Total Receipts                                      13,072,915            500,000           952,158           289,000           500,000        16,654,626           31,968,699                 -              31,968,699

Disbursements:
 Payments made on behalf of Robert Shapiro           (9,327,731)              -                 -                  -                 -         (4,279,833)         (13,607,564)         (1,964,544)          (15,572,108)
 Moorpark Boca Funding, LLC                          (6,392,500)              -                 -                  -                 -         (4,400,002)         (10,792,502)                -             (10,792,502)
 Scott Schwartz / Up & Coming Capital LLC            (1,154,400)              -                 -                  -                 -           (164,920)          (1,319,320)                -              (1,319,320)
 Jeri Shapiro                                        (1,159,600)              -                 -                  -                 -           (480,718)          (1,640,318)                -              (1,640,318)
 Payments made on behalf of 3X a Charm                 (971,625)              -                 -                  -                 -                -               (971,625)                -                (971,625)
 Schwartz Media Buying Company, LLC                  (5,432,916)         (138,389)         (221,722)            (5,000)              -        (11,990,018)         (17,788,045)                -             (17,788,045)
 3X A Charm                                            (148,800)              -                 -                  -                 -           (166,000)            (314,800)                -                (314,800)
 Joy Gravenhorst                                            -                 -                 -                  -                 -           (155,000)            (155,000)                -                (155,000)
 Cash                                                                         -                 -                  -                 -            (21,354)             (21,354)                -                 (21,354)
 Riverdale Funding, LLC                              (4,600,518)              -                 -                  -                 -                -             (4,600,518)                -              (4,600,518)

Total Disbursements                                (29,188,090)          (138,389)         (221,722)            (5,000)              -        (21,657,845)         (51,211,046)         (1,964,544)          (53,175,590)

Net Payments:
 Payments made on behalf of Robert Shapiro           (9,271,731)              -                 -                 -                 -           (4,275,347)        (13,547,078)         (1,964,544)          (15,511,622)
 Moorpark Boca Funding, LLC                          (2,417,500)              -             640,000           250,000               -             (175,002)         (1,702,502)                -              (1,702,502)
 Scott Schwartz / Up & Coming Capital LLC            (1,154,400)              -                 -                 -                 -             (164,920)         (1,319,320)                -              (1,319,320)
 Jeri Shapiro                                        (1,159,600)              -                 -              39,000               -             (140,578)         (1,261,178)                -              (1,261,178)
 Payments made on behalf of 3X a Charm                 (968,625)              -                 -                 -                 -                  -              (968,625)                -                (968,625)
 Schwartz Media Buying Company, LLC                  (1,060,501)          361,611            58,278            (5,000)          500,000           (400,018)           (545,630)                -                (545,630)
 3X A Charm                                            (148,800)              -                 -                 -                 -             (166,000)           (314,800)                -                (314,800)
 Joy Gravenhorst                                            -                 -                 -                 -                 -             (155,000)           (155,000)                -                (155,000)
 Cash                                                       -                 -                 -                 -                 -              228,646             228,646                 -                 228,646
 Riverdale Funding, LLC                                  65,982               -              32,158               -                 -              245,000             343,140                 -                 343,140

Total Net Insider Payments                   $     (16,115,175) $         361,611 $         730,436 $         284,000 $         500,000 $       (5,003,219) $      (19,242,347) $       (1,964,544) $        (21,206,891)




                                                                             See accompanying Declaration dated December 18, 2017
